Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 1 of 68 Page ID #:12

                                                                               Service of Process
                                                                               Transmittal
                                                                               10/08/2019
                                                                               CT Log Number 536397912
   TO:      MEIGHEN HEYBURN
            Risk International Services, Inc.
            4055 EMBASSY PKWY STE 100
            FAIRLAWN, OH 44333-1781

   RE:      Process Served in California

   FOR:     United Technologies Corporation (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                    ARTHUR ROSENGREN, etc., Pltf. vs. CURTISS-WRIGHT CORPORATION, et al., Dfts. //
                                       To: UNITED TECHNOLOGIES CORPORATION, etc.
   DOCUMENT(S) SERVED:                 Summons, Complaint, Stipulation, Notice, Attachment(s)
   COURT/AGENCY:                       Los Angeles County - Superior Court - Hill Street, CA
                                       Case # 19STCV35225
   NATURE OF ACTION:                   Asbestos Litigation - Personal Injury
   ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:           By Process Server on 10/08/2019 at 11:39
   JURISDICTION SERVED :               California
   APPEARANCE OR ANSWER DUE:           Within 30 Calendar Days After This Summons And Legal Papers Are Served On You
   ATTORNEY(S) / SENDER(S):            Benno Ashrafi, Esq.
                                       WEITZ & LUXENBERG, P.C.
                                       1880 Century Park East, Suite 700
                                       Los Angeles, CA 90067
                                       310-247-0921
   REMARKS:                            Due to the illegible condition of the enclosed documents, CT's transmittal may be
                                       incomplete.
   ACTION ITEMS:                       CT has retained the current log, Retain Date: 10/09/2019, Expected Purge Date:
                                       11/08/2019

                                       Image SOP

                                       Email Notification, Kathryn Craddock kcraddock@riskinternational.com

   SIGNED:                             C T Corporation System
   ADDRESS:                            155 Federal St Ste 700
                                       Boston, MA 02110-1727
   For Questions:                      800-448-5350
                                       MajorAccountTeam1@wolterskluwer.com




                                                                               Page 1 of 1 / JS
                                                                               Information displayed on this transmittal is for CT
                                                                               Corporation's record keeping purposes only and is provided to
                                                                               the recipient for quick reference. This information does not
                                                                               constitute a legal opinion as to the nature of action, the
                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
        Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 2 of 68 Page ID #:13




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                                                     SUMMONS                                                                        ron COM r me- oml y
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                                                 (CITACION JUDICIAL)                                                           CONhOMlVlbU COPV
                                                                                                                                 OBIGINAI. FILED
            NOTICE TO DEFENDANT: CURTISS-WRIGHT CORPORATION: |scc                                                             Superior Courl ol C.'ililorni.-^
    <       (AVISO AL DEMANDADO): Addiiionnl Pnnics Aii^ichmciH]                                                                  . .................. • ■ ■ • -   ••........ ale:?



                                                                                                                                        OCT 0 3 2019
    ►
            YOU ARE BEING SUED BY PLAINTIFF: ARTHUR ROSENGREN. an individual.                                           NtrrriK. uiiir.r.u^>y
            (LO ESTA DEMANDANDO el DEMANDANTE):                                                                                /Dquiiy
i                                                                                                                        Kv


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             NOTICEI You hove been sued. The court may decide against you vothoul your being heard unless you respond wilhin 30 days. Read the information
             below.
                You have 30 CALENDAR DAYS after this summons and legal papers are served on you lo Tile a written tesponso at this court and have a copy
             served on the plaintiff. A letter or phone call wll nol prolecl you. Your written response must be in proper legal form if you want Ihc court lo hear your
             case. There may be a court form that you can use for your response. You can find these court forms and mote information at the California Courts
             Online Self-Help Cenler (ww%v.co(/roVo.ca.goM^e//he/p}. your county law library, or the courthouse nearest you. Ifyoucannol pay the filing fee, ask
1            the court cleiK for a fee waiver form. If you do nol file your response on lime, you may lose the case by default, arvf your wages, money, and propaity
             may be taken without further warning from the court.
I                There are other legal requirements You may want to cal en attorney right away. If you do not know an altomey, you may vranl lo call an attorney
             referral service. If you cannol afford an attorney, you may be eligible for free legal services from a nonptofil legal settees program. You can locale
             these nonprofit groups at the California Legal Services Website (yMw.lawhe1pcoBtofTils.arg). the California Courts Online Sell-Help Center
             {www.courlinfo.ca.gov/sellhBlp). or by contacting your local court or county bar association. NOTE: The court has a statutory Hen lor waived fees and
             costs on any setllement or arbitration award of St0,000 or more In a ovllcase. The courfsllen must be paid before the court will dismiss the case.
            lAVISO! Lo tjsn dsmsixtado. Si no responde deniro de 30 d/as. Is code puade deddirsn su contra sin escvcharsu versidn. Lsola irttormocldn a
             continuaa'dn.
                Tiene 30DlAS OE CALENDARIO daspuis de qua la entreguen esia dtaddn y papoleslogales para prosentoruna mspiresta porascrilo en asia
            corie y haear qua sc enfregue una cople al demandants Una carta o una Uamada telo/dnlce no lo protegen. Su respueaia par aserito done qua ester
I           en formaio legal corroefo si desoa quo proccson su case on la cotta. Es posibkr quo haya un fonnulatio qua ustad puoda usar para zu respuosto.
            Pueda enconfrar esfos tormularios de lo eorte y mis Informaddn en el Centro de Ayuda do las Cortos de CaSlornIa ^vwv/.sucortc.ca.gov^, on la
            bibllolaca da layes de su condsdo o an la code que lo quedo mAs carca. SI no pueda pagarla cuofa do prasantadin, pida al secralatio da la coda
\           qua la dA un formulatio da exencfdn da pago de cuoias. SI no presenta su respuestaa ffempo, puade perdare! caso porlncumpIMenloyla cortale
            podrA quilar su sualda, dnemy blenessin mis advartencia,
               Hay ows requlsilos Icgolcs. Es reeomendablo quo l/emo o un obogado fn/nod/sfamenfu. SI no conoce o uri abogado, puedo Kamar a un senido de
            rerrwsidn o sbogados. Si no puade pogor a un abogado, es posibta que eumpla con los requSatos para obtenarservidos legates gralullos do un
            programa da semc/os/ego/es sfn lines do luero. Puede enconfrar esios grvpossin lines do tuem en al sitio wabde CeSfemla Legal Services,
            /WwwJawheIpcalifornb.o/flJ, en ol Centro de Ayudo da las Codes de Colitomla. ^vww.sucorta.ca gov) o pordindoso en conlada conlacotlu o el                   '
            co/eg/d de ebogadosloceles. AVISO: Parley, to code tiene derccho a redemarlos euotasylos eoslos exeniosportmponerun g/ovamen sobra
            cualqvior rocuporacidn do 5 f0,000 d mis de valor reclbldo madJanIa un aarerdo o una concesidn de otbllrajo en uncaso do derscho dvt'/. Tiene que {
            pagar el gravamen do lo code anfos de quo lo eorte pueda dasechor el caso.                                                            •“ .          .L.


           The name and address ot the court is:                                                        CASS MMStSf*. I-           * C
                                                                                                        prinn Otl Caiat •
           (El nombre y direeddn de la corio es}:
           Superior Court of California, County of Los Angeles
            111 North Hill Slrecl
           Los Angeles; Culifomia 90017.
           The name, address, and telephone number ol plaintiffs attorney, or plaintiff without an attorney, is;
           (El nombre. la direeddn y el nCimero de leldfono del abogado del demandanle. o del demendade que no tiene abogado. es):                                                                 k
           Marc Willick, WEITZ & LUXENBERG. P.C.                                                                                                                                                  r/
            1880 Century Park East, Suite 700. Los Angeles, CA 90067                                                      (310)247-0921
           DATE;                                                               Clerk, by                                              . Deputy
           (Facho)         OCT 0 3 2019                                        fSecrefer/o)
           _______ _______________ Shorri R. Carlcf.CIeth___________________________                  .c^TEVEN ORbVV                   (Adjunlo)
          (For proof of scrvfco ollhls strmmonsT t/se Pfoof of "Service ol Summons (form POS-OW).)
          (Para prueba de eniiega de esfa cilaiion use el formulario Proof of Service of Summons, (POS-OlCiy.
                                                                                                                                                                                                           4
                                            NOTICE TO THE PERSON SERVED: You are served
            ISSH)
                                                  1. c
                                                     as an individual defendant.
                                            2[     1 as the person sued under the fictitious name ol (spedly):
                                                         ^                           UNITED TECHNOLOGIES CORPORATION, individually and as
                                                  3 KS onbehaitoffspecrvyj successor-in-interest to PRATT & WHITNEY ENGINE                                                                                 <1

                                                        _                  SERVICES, INC.
                                                     under, I2L2> CCP 416.10 (corporation]                I---- 1 CCP 416.60 (minor)                                                                       i
                                                                                                                                                                                                           !
                                                            I    I CCP 416.20 (defunct corporation)       I 1 CCP 416,70 (conservalee)
                                                            I    I CCP 416.40 (assodaiion or partnership)         CCP 416 90 (authorized person)
                                                                                                                                                                                                           !
                                                    ___  I    I other fspeoiy);


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                                                  * tXX by personal delivery on I'dafe)

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              Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 3 of 68 Page ID #:14
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                                                                                                                                                 SUM-200(A)
                                                                                                                  CASENUMSgR:
                      SHORT TITLE: Rosengren v, Cuniss-Wrighi CorpoiTiiion, ei nl.



                                                                            INSTRUCTIONS FOR USE
                     -► This lorm may be used as an atiachment lo any summons if space does nol permit the listing of all parties on the summons.
                     4 II this altachmenl is used, insert the following statement in the plaintiff or defendant box on the summons: 'Additional Parties
                        Attachment form is attached."

                      List additional parties (Check only one box. Use a separate page for each type of parly.):

                        I    I   Plaintiff        [X] Defendant    (Xl Cross-Complainant     |   | Cross-Delendanl


                    DAP. INC. k/n/a LA MIRADA PRODUCTS CO.. INC;
                    GENUINE PARTS COMPANY, a/k/n and individually and as successor in interesl to NAPA AUTO PARTS:
                    HENRY COMPANY LLC;
                    HONEYWELL INTERNATIONAL, INC, f/k/a and individually and as successor in interest to ALLIED SIGNAL, INC.,
                    individually and as successor in interest to BENDIX CORPORATION and BENDIX AVIATION CORPORATION,
                    HONEYWELL AEROSPACE, ALLIEDSIGNAL AEROSPACE, AVCO CORPORATION. LYCOMING ENGINES, AVCO
I
                    LYCOMING and LYCOMING FOUNDRY AND MACHINE COMPANY:
                    IMO INDUSTRIES, INC., individually and as sucecssor-in-interesi lo DELAVAL STEAM TURBINE COMPANY.
                    ENTERPRISE ENGINE & FOUNDRY COMPANY, and ADEL PRECISION PRODUCTS CORP.:
                    LOCKHEED MARTIN CORPORATION, individually and as successor by merger to GLENN L. MARTIN COMPANY.
                    AMERJCAN-MARJETTA CORPORATION, MARTIN MARIETTA and THE LOCKHEED CORPORATION;
                    NORTHROP GRUMMAN SYSTEMS CORPORATION, individually and as successor in interest to NORTHROP
                    CORPORATION, NORTHROP AIRCRAFT, INC., NORTHROP GRUMMAN CORPORATION and GRUMMAN
                    AEROSPACE CORPORATION:
                    O’REILLY AUTOMOTIVE STORES, INC. f/k/a CSK AUTO. INC. individually and as successor in interesl to GRAND AUTO,
                    INC. and KRAGEN AUTO PARTS;                                                                                                                    1
                                                                                                                                                                   f
                    O'REILLY AUTO ENTERPRISES, LLC I/k/a CSK AUTO, INC. individually and as successor in interest to GRAND AUTO.
                    INC. and KRAGEN AUTO PARTS;
                    SOCO WEST, INC. i/k/a BRENNTAG WEST, INC. f/k/a SOCO-LYNCH CORPORATION successor in interest to WESTERN                                            f

                    CHEMICAL & MANUFACTURING, CO.;
                    THE BOEING COMPANY, individually and as successor by merger to McDONNELL DOUGLAS CORPORATION, successor                                        !
                    by merger wiilt DOUGLAS AIRCRAFT COMPANY;
                    THE W. W. HENRY COMPANY, L.P.;                                                                                                                 »
                    UNION CARBIDE CORPORATION;
                    UNITED TECHNOLOGIES CORPORATION, individually and as successor-in-iniercst to PRATT & WHITNEY ENGINE                                           I
                    SERVICES. INC.;
              ,     WESTERN AUTO SUPPLY COMPANY;

                    and DOES I ilirougli 400, inclusive.
I                                                                                                                                                                  I




                                                                                                                                    Page     I     of _J_
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                   ram AMpieo Kv Utnantoff U>*
                     JudiopI          Cabtemio
                                                                  ADDITIONAL PARTIES ATTACHMENT
                  SUM.200iA| |Rcv. January I. 2007}                     Atiachment to Summons
             Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 4 of 68 Page ID #:15
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                 ' M:uc Willitk. Es(}.                                                        SBN: )7.S379
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                       IRSO Cciiliiiy P.-)ik E;)Si. Sniic 7UU. Los Angeles. CA 90067                                                                     CONFUHfVltU COPY
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                     *T‘oaNEYfOR<Mx.ifj PlniniifT                                                                                                      •'iipHfiof Com I of Cnlilo/nm
                SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
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                    5IREEI ADDRESS I I I NofM) Hill SlfCCt
                           MAiirgGAOORESS. 111 Norili Hill StrCCl
                                                                                                                                                                OCT 0 3 20U'
                           CITY «N0 EiF cooE Los Angeles. 90012
                _______ ea*NCMNAME Si«Tiilev Mask Conrihonse
                                                                                                                                                 ,s icrnll.LWti.ratlin t.niicfi' Ilf'-:till ■jiui
                     CASE NAME- Rosengren v. Corliss-Wrighi Corpomlion, el nl.                                                                                                                    iir(ii)|v'
                                                                                                                                                        \J Vli-vAn l>r(*iv

                           CIVIL CASE COVER SHEET                                              Complex Case Designation
                IX I Unlimited     I                       I Limited
                                                                                       I       I Counter           I     I Joinder
                     (Amount                                 (Amount                                                                                JUDGE:
                     demanded                                demanded is              Filed with (Ifsi appearance by defendant
                     exceeds $25,000)                        $25.000 or less)             (Cal. Rules ol Court, rule 3.402)                          DEPl:
                                                                 items        below must be cc.mp/gfctf (soo Insirv&lons on pope 2).
                1. Cneck one box below lor the case type that besi describes this case:
                    AulO Tort                                  Contract                                                                Provisiondlly Complex Civil Litigation                                      •<
                                                                   ) Greacn ot comractMarfaniy (06)                                         Rules ol Coun, rules 3.<100-3.<103)
                   I 1 AulOt22)
t                  I I Uninsured moiorist (46)                     ] Rule 3.740 collections (09)                                       I     I AniiinjsVTredc reguiaiien (03)

r                      Other Pt/PD/WO (Personal Injury/Propetiy
                       Damage/Wrongtui Death) Ton
                                                                                            ] Other collections (09)                   I     I Consiruciion ceieci (tO)                                            T1
                                                                                            ] Insurance coverage (16)                  LJ Mass ion (40)
                       I X I Asbestos (04)                                               )- Other contract (37)                        t     I Secufiiios litigaiion (28)

!                      I
                       I
                       I
                                I Product liab'tiny (24)
                                1 Medical matpraciicc (45)
                                I Olher PI/POAWD (23)
                                                                                      teol Properly
                                                                                         I Emifienl domsirUlnverse
                                                                                     ____ condemnaiiorT (14)
                                                                                                                                       I     I EnvironmeniQtrro'ic ton (30)
                                                                                                                                       t -J Insuranco covorage claims arising Irom ihe
                                                                                                                                            above listod provisionally oKnptex case
                                                                                                                                                                                                                   X
*                      Non-Pl/POrwD (Other) Tort                                            [ Wrunglul ovicllon (33)                        lYpe$<4i)

!                      L,,i Business lorVunlait business practice (07)
                                                                                            i Other real properly (26)                 EntofcemenI ot Judgment

                                                                                     Unlawful Oatetner                                 I     I Enlorcement ol judgment (20)
                       I  I Civil fighis (08)                                        ■ ■■ I *
                       LJ Oetamaiion (13)                                            ___I Commercial (31)                              Miscellaneous Civil Comptaiirt
     ;
                       \        I Fraud (16)                                                  ResWentiaJ (32)                          CZI RICO (27)
                                  Inleleclual property (19)                          '"H Drugs (36)                                    I I Other complaini (nor spectTi'ed above; (42)
     i                 L_J Pfolessional negligence (25)                              udidat Review                                    Miscellatteous Civil Peiillon
                       I        I Olher non-PI/PDAVD lod (3S)                        ZD Asset lorleiture (OS)                         ____
                                                                                                                                      I    ^I Partnership and corporate governance (21)
                        Employment'                                                        • I Petition re: arbitration award (11)    [     |I Other petition (nol specrl7ed ebove) (43)
                       I  i Wronglul termination (36)                                ZD Writ ol manooie (02)
                       I     1 Other employment (IS)                                        i Other {ot^ol rovlQw.(39),                    ___
                2.      This case I Y I Is      I  I is nol    complex under rule 3.400 ol the Calllornla Rules ol Court. If the case is complex, marts the
                        tactors requiring ex^plional judicial management:
                                                                                                           d. I        I Large number ol witnesses                                                                      f
                        a. I X I Large number ol separately represented parlies
                        b. I >^1 Extensive motion practice raising dillicuH or novel                       e. CZl Coordination with related actions pending in one or more courts -
                                        issues that will be time-consuming to resolve                         ____in olher counties, stales, or countries, or in a federal couh  *
                        c. I X I Substantial amount ol documentary evidence                                I. I        I Subslaniial posijudgmeni judicial supervision

                3.      Remedies sought (check all that apply): a.I X I monetary                          b.l     I nonmonetary; declaratory or injunctive relief                        c. j X Ipunilive
                4.      Number ol causes of action (specily):
                5.      This case I      I is  I X I is not a class action suit.
                6.      If there are any Known related cases, lile and serve a notice of related case, (^u^py use form CM-OiS.)

                DatetOc.ober .1.2019                                                                                   k                                                   --------------- ------------
                Mnrc Willick. Eso.                     ____________ __________________ r                          ^ //                                 ^ 1/                  ________________
                                                      . nf'EOflPf’lNT NAME)                                                          (S.-O.H* lUHi; CF >'ARtV UKA ITCruav I ON               I
                 ------------ -                                                                   ^      KlOYl'CE
                 • Plainlill must tile this covet shed with the lirst paper filed in (he action or proceeding {except small claims cases or cases liled
                   under Ihe Probate Code. Family Code, or Wellate and Institutions Code). (Cal. Rules ol Court, rule 3.220.) Failure lo tile may result
                   in sanctions.
                 • File this cover sheet in addition to any cover sheet required by local court rule.
                 • If this case is complex under rule 3.400 et seq. ol the California Rules ol Court, you must serve a copy ol this cover sheet on all
                   other parties to the action or proceeding.
                 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used lor statistical purposes on^.

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                                                                                                                                                                  ComaI 'uct 7 W 3 7re'3':<00-}.>03.9
                                                                                     CIVIL CASE COVER SHEET                                                  Cj! S kndJidt (W Jif'4:bl                  tk0«3 10
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            Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 5 of 68 Page ID #:16
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                                                                                                                                                       CM-010
                                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
             To Plainlilfs and Olhers Filing Firsl Papers. II you are filing a first paper {for example, a complaint) in a civil case, you must
             complete and file, along with your first paper, the Civil Case Cover Sheet contained on page i. This inlormation v/ill be used to compile
             statistics about the types and numbers of cases tiled. You must complete items ^ through S on the sheet. In item i. you must check
             one box tor the case type that best describes the case, if the case fits both a general and a more specific type of case listed in item i,
             check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
             To assist you in completing the sheet, examples of the cases that belong under each case type in item l are provided below. A covet
             sheet must be lited only v/ith your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
             its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
             To Parties in Rule 3.740 Coiiecllons Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
             owed in a sum slated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
             which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (l) tort
             damages. (2) punitive damages. (3) recovery of real property, (4) recovery of personal properly, or (6) a prejudgment writ ol
             attachment. The Identification of a case as a rule 3.740 colteciions case on this form means that it v/i!l be exempt from the general
             time-lor-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
             case wilt be subject to the requirements for service and obtaining a judgment in mie 3.740.
             To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
             case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
             completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
             complaint on ail parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
             plaintiffs designation, a counter-designation that the case Is not complex, or, if the plaintiff has made no designation, a designation that
             the case is complex.                                       CASE TYPES AND EXAMPLES
             Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
                   Auto (22}-Personal Injury/Properly             Breach ol ContractAVarranly (06)               Rules of Court Rules 3.400-3.403)
                         Damage/Wronglul Ooalh                        Breach ol Rcntal/Lcase                           Aniilrust/Trade Regulation (03)
                                                                           ContracI (noJ urilawlul detainer            Constainiion Dcicci (lO)
                    Uninsured Motorist (46) (// fhe
                                                                               or wTongiui eviction)                   Claims    Involving Mass Ton (40)
                         case involves an uninsured
                                                                      ConiraclAVoffonjy Breach-Seller                   Securities Uligalion (28)
                         motorist cbim subject fo
                         arbitration. Chech this item                      Plaintill (not fraud or negligence)          EnvironmeniaVToxic Tort (30)
                         instead ol Auto)                             Negligeni Breach of Contract/                    Insurance Coverage Claims
                                                                           Warranty                                          (arisirtg from provisionally complex
             Olher PI/POAVO (Personal Inju^/
                                                                      Olher Breach of Conlracl/Warranty                      case type listed above) {41)
             Property Damage/Wrongful Death)
             Ton                                                  Coliccllons (e.g.. money owed, open              Enlorcement ot Judgment
                                                                      book accounts) (09)                              Enforcement ot Judgment (20)
                 i Asbestos (04)
                                                                      Collection Caso-Seller Plaintiff                      Abstract ol Judgment (Out of
                        A^sip^ Property Darnage                                                                                    County)
                         Asbestos Pcisonal injury/                    Other Promissory Note/Collections
                                                                           Case     ■"                                      Confession of Judgment (non-
                        c . Wrongful Death ;■                     Insuranca Coverage (notprovisionally                             domestic relations)
                                                                      cornplax) (18)                                        Sister Slate Judgment
                                                                      Auto Subrogation                                      Administrative Agency Award
                                                                      Other Coverage                                             (not unpaid taxes)
                                                                  Olher Contract (67)*                                      Pelition/Certification ol Entry ol
                         ^ Physidans 8 Surgeons
                                                                      Contractual Fraud                                         Judgment     on Unpaid Taxes
                        Olher Prolossio'nai Health Care
                                                                      Other Conirad DIspuie                                 Olher Enlorcement dl Judgment
                                                              Real Property                                                       :Case. .
                                                                  Eminent .Oomrdiyinvc^e                          Miscellaneous Civil Complaint
                        Premises Oatxiily (e.g., slip .                                                                RICO (27)                     . .
                             ,andla[l)                                G^ndemnallon (14)
                                                                  Wrongful Eviclion (^)                                Other Compiaini (nolspedlied
                        Inionlional Bodily ln|ury/PO/wp                                                                     ttb6vo)'t‘i2)
                               (e.g.. assault, vandalism]        Other Real Property fe.g.. quiet title) (26)               pccbraio'cy. fldici Only
                        Intentional Inlliclion ol                     Writ ol Possession ol Real Property                 :,,inluf»ciive RtticfOnly (non-
                               Emotional Distress                     Mortgage Foreclosure                                         harassment)
                        Negligeni InHictlonol                         Quiet Title                                           Mechanics Lien
                               Embtiorial Distress                    Olher Real Property (not eminent
                                                                                                                            Other Commercial Comolalnl
                        Other Pl/PD/WD                                domain, laixllord/lenanl, or
                                                                                                                                   Case (non-iorv'non-complex)
             Non-PI/PO/WD (Other) Tort                                (oredosure)                                           Olher Civil Complaint
                   Business Tort/Unlair Business              Unlav/ful Detainer                                                 (non-tort/non-complex)
                       Practice (07)                              Commercial (31)                                 Miscellaneous Civil Petition
                   Civil Rights (e.g.. discrimination,           Residential (32)                                      Pnrtnetshif) and Corporule
                       false arresi) (nptdvil                    Drugs (38) (// the case involves illegal                   Governance'(21)
                        harassment) (08)                              drugs, choch this item; otherwise,               Olher Petition (not spedlied
                   Oeiarhatidn (e.g.. slander, libel)                 report as Commercial or Residenliel)                  Move) (43)
                          (13)                               Judicial Review                                                Civil Harassment
                   Fraud (16)                                    Asset Forlehure (05)                                       Worhplaco Vrolonce
                   Intcltecluol Property (19}                    Petition Re: Arbitration Award (11)                        Eldci/Ocpendcni Adult
                   Professional Negligence (25)                  Writ ol Mandate (02)                                             Abuse
                       Legal Malpractice                              Wrk-Adminisirative Mandamus                           Election Contest
                       Other Profcssiortai Malpractice                Writ-Mandamus on Umiled Court                         Petition lor Name Change
                            (not medcal or legal)                         Case Mailer                                       Petition lor Relief From Late
                    Other Non-PI/PD/WO Tort (35)                      Writ-Other Limited Court Case                               Claim
             Employment                                                   Review                                           Olher Civil Petition
                   Wronglul Termination (36)                     Olher Judicial Revievr p9)
                   Other EmploymenI (15)                              Review of Health Officer Order
                                                                      Notice ol Appeal-Labor
                                                                         Commissioner Appeals
             CM.0ID|Rty Jutyt.200t|                                                                                                                         2 ol 2
                                                                   CIVIL CASE COVER SHEET
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            sMmtiiTic Rosciigfcn v. CurJiss-Wiiglu Coiporaiion. ci ni.

                                                                                                                               m-TW5^5^
                                         CIVIL CASE COVER SHEET ADDENDUM AND
                                                 STATEMENT OF LOCATION
                          (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                         This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                 Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                         Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


                 Step 2: In Column B, check the box for the type of action chat best describes the nature of the case.
                                                                                                                                                         BY FAX
                 Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                         chosen.

                                                      Applicable Reasons for Choosing Court Filing Location (Column C)

          t. Class actions must be filed in the Slanley Mosk Counhouse. Central Oistiicl.         7. Locationwtiere peiilioner resides.

          2. Permissive filing in centra! district.                                               6. Location wherein defendanl/respondent iurKlIons wholV.

          3. Location where cause of action arose.                                                9. Location where one or more of the parties reside.

          4. Mandatory personal Injury filing in North Dislrfcl.                                 10. Localionof Labor Commissioner Office.
                                                                                                 11. Mandatory filing location (Hub Cases-unlawful detainer, limited
          5. Location where performance required or defendant resides.                           norvcolleciion, limited collection, or personal injury).
          6. Location of property or permanenity garaged vehicle.




                                           A                                                            B                                                       C
                               Civil Case Cover Sheet                                            Type of Action                                      Appicable Reasons*
                                     Category No.                                               (Check onty one)                                      See Step 3 Above


                                       Auto (22)              □ A7tOO Motor Uehicle - Personal Injury/Property OamageMfrongful Death                 1. 4, II
             S -e
                               Uninsured Motorist (46)        □ A7110 Personal Injury/Property DamageAAfrongful Death - Uftinsured Motorist          I. 4, 11


                                                              □    A6070 Asbestos Properly Damage                                                    1. II
                                    Asbestos (04)
                                                              O    A7221 Asbestos • Personal InjuryAiVronglul Oealh                                  1,11

             ll                 Product Liability (?4)        O    A7260 Product Liability (not asbestos or loxic/environmental)                     1. 4. tl
             a. £
                n
             £• O                                             O    A72t0 MedicatMalpractice ■ Physicians6 Surgeons                                   t. 4. M
             -1
             £
                              Medical Malpractice (4$)                                                                                               1.4, n
                                                              □    A7240 Other Professional Health Care Malpraci'ce
             n
             § I                                              □    A7250 Premises Liab'tity (c.g.. s6p and laP)
                                                                                                                                                     1, 4. 11
                  9>                Other Personal
                                    Injury Property           □    A7230 Intentional Bodily Injury/Properly OamageAMongful Death (e g..
                  £                                                                                                                                  1. 4. 11
                                   Damage VMongful                       assaull. vandalism, etc.)
             5 cj                     Death (23)                                                                                                     1. 4. 11
                                                              O A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                     1.4. 11
                                                              □    A7220 Other Personal Injury/Ptoperty □amageAAfror>gIul Death




                                                                                                                                                                          <-> »
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                                                               AND STATEMENT OF LOCATION                                                            Page i of 4

                                                                                                                                                                    C ■
f
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         SHORTTiTiE Rosengren v. Coniss-Wright Corporaiion. ci 5il.                                            CASS NUM9SR




                                     A                                                                 B                                              C Applicable
                          Civil Case Cover Sheet                                            •    TypeofAclion                                      Reasons - See Step 3
                                Category No.                                                    (Check only one)                                         Above


                             Business Tort (07)             □    A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1.2.3

                 •c
                              Civil Rights (08)             □   A600S Civil Rights/Oiscriminalion                                                  1.2.3

           S £
           £ S                Defamation (13)               □   ASOlO Defamation (stander/Iibel)                                                   1.2,3

           .2.2
                                Fraud (16)                  □   A6013 Fraud (no coniraci)                                                          1.2.3
           -
           R1 §■
              P


                                                            □   A6017 Legal Malpractice                                                            1,2.3
                 ■s
                       Professional Negligence (2S)
           fi
           o n
                                                            d   A6050 Other Professional Malpractice (not medical or legal)                        1,2.3

           z o
                                Other (35)                  □   A6025 Other Non-Personal Ir^ury/Property Damage tort                               1.2.3


                        Wrongful Termination (36)           O   A6037 Wrongful Termination                                                         1.2,3
             g
             E
             >>                                             □ A6024 Other Employment Complaint Case                                                1,2.3
             Q.          Other EmploymenI (15)
             E                                              □ A6I09 Labor Commissioner Appeals                                                     10
            UJ

                                                            □   A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                  2.5
                                                                      eviction)
                       Breach of Contract/VWrranty                                                                                                2,5
                                                         □ A6008 Contract/Warranty Broach -Seller Plaintiff (rto ftaud/negllgence)
                                   (06)
                             (not insurance)                                                                                                      1.2.5
                                                         □      A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                        I
                                                                                                                                                  1.2.5
                                                         □      A6026 Other Breach of ConIractAlVarranly (not fraud or negligence)


                                                         □      A6002 Collections Case-Seller Plaintiff                                           5, 6.11
                             Collections (09)
                                                        □ A6012 Other Promissory Nole/Collections Case                          F.

            o
             g                                                                                                                                    5.11
                                                         □      A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                  5.6.11
                                                                                  Purchased on or after January 1,-2014).

                        Insurance Coverage (13)        . □ A601S Insurance Coverage (not complex)                                                 1.2. 5,8

                                                        □       A6009 Contractual Fraud                                                           1.2,3.5

                           Other Contract (37)          □       A6031 Tortious Interference                                                       1.2, 3.5

                                                        □       A6027 Other Contract (^spule(nol breaeh/lnsurance/lraud/negligence)               1.2. 3.8.9

                        Eminent Domain/inverse
                                                        □       A7300 Eminent Domain/Condemnation                  Number of parcels.             2.6
                          Condemnation (14)


            a.           Wrongful Eviction (33)         □       A6023 Wrongful Eviction Case                                                      2.6
            2
            a.
                                                        □       A6018 Mortgage Foreclosure                                                        2.6
            u
            o:          Other Real Property (26)        □       A6032 Ouiel Title                                                                 2.6

                                                        □       A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)      2.6

                      Unlawful Oetaincr-Cpmmcrdal
                                                        □       A602I   UnlawtulDelainer-Commercial(notdrugsorwrongfulevictlon)                   6. 11
            %c                    (31)

            S2        Unidv/fu! Oetalner*Resld€nlial
                                                        O A6020 Unlawful Oetainer-Resfdential (not drugs or wrongful eviction)                    6.11
            a                      (32)
            •5            Unlawful Dclalner-
                                                        □       A6020F Unlawful Detainer-Post-Foreclosure                                         2. 6. 11
                         Post-Foreclosure (34)
            c
            3         Urriawlul Detainer-Drugs (38)     □       A6022 Unlawful Detainer-Drugs                                                    2. 6.11



                                                       CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2 3
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             Short 1ITL6 Roscngren v. Ciiriiss-Wrighi Corpomiioii. cl fil.                                         CASE NUMBER




                                             A                                                           B                               C Applicable
                                  Civil Case Cover Sheet                                           Type of Action                     Reasons - See Slep 3
                                        Category No                                               (Check only one)                          Above


                                   Asset Forfeiture (05)         □   A6106 Asset Forfeiture Case                                      2. 3.6


                                Petition re Arbitration (11)     □   A6115 Petition to Compel/ConflrnWacate Arbitration               2.5

                    s;
                    oc                                           □ A6IS1 Writ • Administrative Mandamus                               2,8

                    •s
                    ■v
                                   Writ or Mandate (02)          □   A6152 Writ • Mandamus on Limited Court Case Matter               2

                                                                 □   A6t53 Writ • Other Limited Court Case Review                     2


                                Other Judicial Review (39)       □   A6t50 Other Wril/Judiclal Review                                 2.8


                              AntiirustFIrade Regulation (03)    □   A6003 Antllrust/Trade Regulation                                 1.2. B
                    g
                    ■5
                    tgj          Corrstruction Defect (10)       □   A6007 Construction Defect                                        1.2.3


                    s
                    a.
                                Claims Involving Mass Tort
                                           ('tO)
                                                                 □ A6006 Claims Involving Mass Tori                                   1.2.8

                    E
                   2             Securities Litigallon (26)      □ A6035 Securities Litigation Case                                   1.2.8

                    re                  Toxic Tori
                                                                 □   A6036 Toxic Tort/Environmental                                   1.2. 3,8
                   .2               Environmentai (30)
                .a
                    o          Insurance Coverage Claims
                                                                 □ A6014 insurance Coverage/Subrogation (complex case only)           1.2. 5.8
                £                from Complex Case (41)

                                                                 □ A6141 Sister Slate Judgment                                        2. 5.11

                                                                 □ A6160 Abstract of Judgment                                         2.6
               c -g
               o         a>
               E         £             Enforcement
                                                                 □ A6107 Confession of Judgment (non-domesllc relations)              2.9
               Sf                    of Judgment (20)            □ A6140 AdmfnfslraliveAgencyAward(notunpaldtaxes)                    2.8
               c •_                                              □ A6114 PelitlorVCerHllcate for Entry of Judgment on Unpaid Tax      2.8
              lU         o

                                                                 □   A6112 Other Enforcemcnl of Judgment Case                         2, 8.9


                                        RICO (27)                □ A6033 Racketeering (RICO) Case                                     1.2.8
                     •2
               i8    -S                                          □ A6030 Declaratory ReDel Only                                       1.2.8

              ^I
               X o
                                    Other Complaints
                                (Not Specified Above) (42)
                                                                 □ A6040 Iniuncttve Retiaf Only (not domestic/harassment]             2.8

               8                                                 □ A6011 Other Commercial Complaint Case (non4ort/rton-complex)       1.2.8
              is     <3                                          □ A6000 Other Civil Comptainl (non-lort/non-complex)                 1.2.8

                                 Partnership Corporation
                                                                 □ A6113 Partnership and Corporate Governance Case                    2.8
                                    Governance (21)

                                                                 □ A6t21 Civil Harassment With Damages                                2, 3.9



               II
                                                                 □   A6I23 Workplace Harassment With Damages                         2. 3,9
                                                                 □ A6124 Eidcr/Dependenl Adult Abuse Case With Damages               2. 3.9
                                   Other Petitions (Not


            .11                   Specified Above) (43)          □ A6190 Election Contest

                                                                 □ A6110 Petition for Change of Name/Change of Gender

                                                                 □ A6f70 Petition for Relief from Late Claim Law
                                                                                                                                     2

                                                                                                                                     2.7

                                                                                                                                     2. 3.8
                                                                □    A6100 Other Civil Petilion
                                                                                                                                     2.9




                                                                CIVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2 3
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    t




             SHORT Tai€ Roscngfcn v. Cimiss-VVrig])! Corporniion, ci nl.                            Case nuvber




            Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the •
                    type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
                       (No address required for class action cases).

                                                                               ADDRESS:
               REASON:                                                          818 W.7ili Street
                .n.K2.n3.n4.n5.r6.n7. ns.n g.nio.nn.


               cnv:                                   STATE;      ZIP CODE:

               Los Angeles                            CA         90017


            Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                       District of
                    the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)).




              Dated: Octobers. 2019
                                                                                               tSiCf lATURE OF ATTORNEY/FllNG PARTY)


                                                                                                                                                         i


                                                                                                                                                     c
              PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
              COMMENCE YOUR NEW COURT CASE:
                                                                                                                                                         i
                  1. Original Complaint or Petition.
                  2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.                                                        ■■



                  3;   Civil Case Cover Sheet, Judicial Council form CM-010.                                                                         »
                  4.   Cisril Case Cover Sheet Addendum and Statement of Location form, LACIV109, LASC Approved 03-04 (Rev.                          i
                       02/16).                                                                                                                           ■

                  5.   Payment in full of the filing fee. unless there is court order for waiver, partial or scheduled payments.

                  6.   A signed order appointing the Guardian ad Litem, Judicial Council form CIV-OIO. if the plaintiff or petitioner is a
                       minor under 18 years of age will be required by Court in order to issue a summons.                                                ■:




                  7.   Additional copies of documents to be conformed by the Clerk. Copies of (he cover sheel and this addendum
                       must be served along with the summons and complaint, or other initiating pleading in the case.
                                                                                                                                                     i
                                                                                                                                                         ;•




                                                                                                                                                         1




                                                    CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
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1




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                 Marc Willick, Esq. (CSBN 175379)
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                 1880 Century Park East, Suite 700
                                                                                   OCT 03 20^9
             3
                                                                                           viilKtt.'UffUiCoilf*
                 Los Angeles, California 90067
             4   Tel.: (310) 247-0921                                                               . Dtpuiy
                 Fax:(310) 786-9927                                            7       nr.-v-.'
             5
             6   Attorneys for Plaintiff

             7

             8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                              &-                       7
             9                             FOR THE COUNTY OF LOS ANGELES                      ■j.



            10
                 ARTHUR ROSENGREN, an individual;                   CASE NO.
            I}
    9-
                             Plaintiff,
                                                                               19STCV35225
    ii |5   12
    ilsSs   13
                    V.


    -ni
    |! II 15
                 CURTISS-WRIGHT CORPORATION;
                 DAP, INC. k/n/a LA MIRADA
                                                                    PLAINTIFF’S COMPLAINT FOR
                                                                    DAMAGES
                 PRODUCTS CO., INC.;                           !
            16
                 GENUINE PARTS COMPANY, a/k/a                  1^
                                                                    L NEGLIGENCE
            17   and individually and as successor in          I    2. BREACH OF EXPRESS AND
                 interest to NAPA AUTO PARTS;                          IMPLIED WARRANTIES
            18   HENRY COMPANY LLC;
                                                                    3. STRICT LIABILITY
            19   HONEYWELL INTERNATIONAL,                  t

                 INC., f/k/a and individually and as                4. PREMISES OWNER/
            20   successor in interest to ALLIED SIGNAL,               CONTRACTOR LIABILITY
                 INC., individually and as'successor in
            21                                                      DEMAND FOR JURY TRIAL
                 interest to BENDIX CORPORATION and
            22   BENDIX AVIATION CORPORATION,
                 HONEYWELL AEROSPACE,
            23   ALLIEDSiGNAL AEROSPACE, AVCO
            24   CORPORATION, LYCOMING
                 ENGINES. AVCO LYCOMING and
            25   LYCOMING FOUNDRY AND
                 MACHINE COMPANY;
            26   IMO INDUSTRIES, INC., individually
            27   and as successor-in-interest to DELAVAL
                 STEAM TURBINE COMPANY,
            28
                                                           • I -
                                                                                                                       r:
                                                 PLAlhJTlFF'S COMPLAINT                                            (
                                                                                                                  (■
>
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                                ENTERPRISE ENGINE & FOUNDRY
                        1       COMPANY, and ADEL PRECISION
                        2      PRODUCTS CORP.;
                               LOCKHEED MARTIN
                        3      CORPORATION, individually and as
                        A
                               successor by merger to GLENN L.                                           i
                               MARTIN COMPANY, AMERICAN-
                        5      MARIETTA CORPORATION, MARTIN
                               MARIETTA and THE LOCKHEED
                        6      CORPORATION;
                        7      NORTHROP GRUMMAN SYSTEMS                                              i
                               CORPORATION, individually and as                                  4
                        8      successor in interest to NORTHROP
                        9      CORPORATION, NORTHROP                     !
                               AIRCRAFT, INC., NORTHROP
                       10      GRUMMAN CORPORATION and
                               GRUMMAN AEROSPACE
                       II      CORPORATION:
        0-9 el
        os 3*
                       12      O’REILLY AUTOMOTIVE STORES          j

        ct 5   ”   I           INC. f/k/a CSK AUTO, INC. individually
                       13      and as successor in interest to GRAND
        sill
        3§5^                   AUTO, INC. and KRAGEN AUTO
                       14
    ^          |3
                   i   15
                               PARTS;
                               O’REILLY AUTO ENTERPRISES,
                                                                                                 I

                             : LLC f/k/a CSK AUTO, INC. individually
                       16   1 and as successor in interest to GRAND
                       17      AUTOi INC. and KRAGEN AUTO
                            ^ PARTS;
                       18    soeo WEST, INC. f/k/a BRENNTAG                                          :■




                       19
                             WEST, INC. f/k/a SOCO-LYNCH
                            CORPORATION successor in interest to                                 t
                                                                                                     j
                       20   WESTERN-CHEMICAL &
                            MANUFACTURING, CO.;                                         Q
                       21   THE BOEING COMPANY, individually                                     I

                       22   and as successor by merger to
                            McDonnell DOUGLAS
                       23   CORPORATION, successor by merger
                            with DOUGLAS AIRCRAFT COMPANY;
                       24                                                                            c
                            THE W.W. HENRY COMPANY, L.P.;
                       25   UNION CARBIDE CORPORATION;
                            UNITED TECHNOLOGIES
                       26   CORPORATION, individually and as
                       27   successor-in-interest to PRATT &
                            WHITNEY ENGINE SERVICES, INC.;
                       28   WESTERN AUTO SUPPLY
                                                                        -2-
                                                             PLAINTIFF’S COMPLAINT
>       Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 12 of 68 Page ID #:23




                  COMPANY;
             1

            2     and DOES 1 through 400, inclusive,
                                                                                                                        ;
            3                          Defendants.
                                                                                                                        I
            4

            5             COMES NOW, Plaintiff ARTHUR ROSENGREN for causes of action against
                                                                                                                        i
                                                                                                                        i
            6     defendants and DOES 1 through 400, and each of them, inclusive, who files this Complaint
            7     and alleges as follows:
            8                                    GENERAL ALLEGATIONS
            9             1.    The true names and/or capacities, whether individual, corporate, partnership,
            10    associate, governmental, or otherwise, of defendant DOES 1 through 400, inclusive, are
            11    unknown to plaintiff at this time, who therefore sue said defendants by such fictitious names.
       ii   12    Plaintiff is informed and believes, and thereon alleges, that each defendant designated herein
    “i "I
                  as a   DOE caused injuries and damages proximately thereby to plaintiff as hereinafter
    I ill ”       alleged; and that each DOE defendant is liable to the plaintiff for the acts and omissions
        Is 15     alleged herein below, and the resulting injuries to plaintiff, and damages sustained by the
    5   2
            16    plaintiff. Plaintiff will amend this complaint to allege the true names and capacities of said
            17    DOE defendants when that same is ascertained.
            18            2.    Plaintiff is informed and believes, and thereon alleges, that at all times herein
                                                                                                                         I
            19    mentioned, each of the defendants and each of the DOE defendants were, the agent, servant,        V
                                                                                                                        i
                                                                                                                    1   1.

            20*   employee and/or joint venturer of the other co-defendants and other DOE defendants, and               A

            21    each of them, and at all said times, each defendant and each DOE defendant was acting in
            22    the full course, scope and authority of said agency, service, employment and/or joint venture.
            23            3.    Plaintiff is infonned and believes, and thereon alleges, that all times mentioned
            24    herein, defendants and DOES 1 through 400, and each of them, inclusive, were also known
            25    as,    formerly   known   as   and/or    were    the   successors   and/or   predecessors    in
                                                                                                                        1
                                                                                                                        ;
            26    interest/business/product line/or a portion thereof, assigns, a parent, a subsidiary (wholly or       :
            27    partially owned by, or the whole or partial owner), affiliate, partner, co-venturer, merged           ;
            28    company, alter egos, agents, equitable trustees and/or fiduciaries of and/or were members in
                                                               -3 -
                                                     PLAINTIFF’S COMPLAINT
     Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 13 of 68 Page ID #:24




           1    an entity or entities engaged in the funding, researching, studying, manufacturing,
           2    fabricating, designing, developing, labeling, assembling, distributing, supplying, leasing,
           3    buying, offering for sale, selling, inspecting, servicing, repairing, installing, demolishing,
           4    contracting for installation, contracting others to install, repairing, marketing, warranting,
           5    rebranding, manufacturing for others, packaging and advertising a certain substance, the
           6    generic name of which is asbestos, and/or other products, components and assemblies
           7    containing said substance (hereafter “alternate entities”). Defendants and DOES 1 through
           8    400, and each of them, inclusive, are liable for the acts, omissions and tortious conduct of its
           9    successors and/or predecessors in interest/business/product line/or a portion thereof, assigns,,
          10    parent, subsidiary, affiliate, partner, co-venturer, merged company, alter ego, agent, equitable
          11    trustee, fiduciary and/or its alternate entities in that defendants and DOES 1 through 400, and
o    a-
si  ii    12    each of them, inclusive, enjoys the goodwill originally attached to each such alternate entity,
Si.r-i
          13    acquired the assets or product line (or portion thereof), and that there has been a virtual
X

          14   destruction of plaintiffs remedy against each such alternate entity, and in that each such
iij<      15   defendant has the ability to assume the risk spreading role of each such alternate entity.
5    5
                                                                                                                   3
          16          4.      Plaintiff is informed and believes, and thereon alleges, that at all times herein
          17   mentioned, that defendants and DOES 1 through 400, and 'each of them, inclusive, were and
          18   are corporations organized and existing under the laws of the State of California or the laws
          19   of some state or foreign jurisdiction; that each of the said defendants and DOE defendants
          20   were and are authorized to do and are doing business in the State of California and regularly
          21   conducted business in the County of Los Angeles; and that certain defendants and DOES
          22   designate or have maintained principle places of business in the County of Los Angeles.
          23          5.     Although the plaintiff may have been employed by defendant at the time of his
          24   exposure to the defendant’s asbestos-containing products (and to other asbestos-containing
          25   products), or to asbestos by virtue of defendant’s failure to protect from asbestos, each
          26   defendant lacked workers’ compensation insurance coverage during the years that the
          27   plaintiff was exposed, having failed to secure the payment of workers’ compensation through
          28   mandated insurance or self-insurance coverage. In addition, the plaintiffs exposure to the
                                                             -4-
                                                   PLAINTIFF’S COMPLAINT
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                 1   defendant’s asbestos-containing products (and to other asbestos-containing products), or to
                2    asbestos by virtue of defendant’s failure to protect from asbestos, did not arise out of the
                3    plaintiffs employment, as the defendant lacked the right to control the manner or means of
                4    the plaintiffs work duties. Finally, the plaintiff was exposed to asbestos-containing products
                5    that the defendant manufacrured for sale to the general public, and which the plaintiff only
                6    incidentally used during the course of his work duties.
                7           6.    Defendants placed their names, logos, and trademarks on asbestos products as
                8    well as put out as their own asbestos products manufactured by others so as to be an apparent
                9    manufacturer and liable as the manufacturer.
                10         7.     Plaintiff ARTHUR ROSENGREN was exposed to asbestos as an aircraft
                11   mechanic from 1949 to 1993, as well has through home remodeling from approximately the
    a--5 si     12   1960s to 1970s and home auto repair in the 1970s, who at various locations, including within
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                13   the Slate of California, used, handled or was otherwise exposed to asbestos, asbestos
                14   containing products and/or products designed to be used in association,j with asbestos
    lu <   32   15   products of, and/or products that created an asbestos hazard, and/or safety equipment
    5      =
                16   intended to block the entry of asbestos fibers, and/or by virtue of the creation of asbestos
                17   dust and failure to protect from asbestos dust, and/or on or about the premises of and by,
                18   defendants and DOES 1 through 400, and each of them, inclusive; including: CURTISS-
                19   WRIGHT CORPORATION (for aircraft); DAP, INC. k/n/a LA MIRADA PRODUCTS
                20   CO.,' INC. (for construction products); GENUINE PARTS COMPAhTY, a/k/a and
                21   individually and as successor in interest to NAPA AUTO PARTS (for automotive products);
                22   HENRY COMPANY LLC (for roofing mastic); HONEYWELL INTERNATIONAL,
                23   INC., f/k/a and individually and as successor in interest to ALLIED SIGNAL, INC.,
                24   individually and as successor in interest to BENDIX CORPORATION and BENDIX
                25   AVIATION       CORPORATION,          HONEYWELL            AEROSPACE,       ALLIEDSIGNAL
                26   AEROSPACE, AVCO CORPORATION, LYCOMING ENGINES, AVCO LYCOMING
                27   and LYCOMING FOUNDRY AND MACHINE COMPANY (for automotive products and
                28   aircraft products); IMO INDUSTRIES, INC;, individually and.as successor-in-interest to
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                                                        PLAINTIFF’S COMPLAINT
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         1    DELAVAL STEAM TURBINE COMPANY, ENTERPRISE ENGINE & FOUNDRY
         2    COMPANY, and ADEL PRECISION PRODUCTS CORP. (for Adel Clamps);
         3    LOCKHEED MARTIN CORPORATION, individually and as successor by merger to
         4    GLENN L. MARTIN COMPANY, AMERICAN-MARIETTA CORPORATION, MARTIN
         5    MARIETTA and THE LOCKHEED CORPORATION (for aircraft); NORTHROP

         6    GRUMMAN SYSTEMS CORPORATION, individually and as successor in interest to
         7    NORTHROP        CORPORATION,         NORTHROP        AIRCRAFT,      INC.,    NORTHROP
         8    GRUMMAN CORPORATION and GRUMMAN AEROSPACE CORPORATION (for

         9    aircraft); O’REILLY AUTOMOTIVE STORES, INC. f/k/a CSK AUTO, INC.
         10   individually and as successor in interest to GRAND AUTO, INC. and KRAGEN AUTO
         11   PARTS (for automotive products); O’REILLY AUTO ENTERPRISES, LLC f/k/a CSK
a-5 gi   12   AUTO, INC. individually and as successor in interest to GRAND AUTO, INC. and
4k       13   KRAGEN AUTO PARTS (for automotive products); SOCO WEST, INC. f/k/a
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   el    14   BRENNTAG WEST, INC. f/k/a SOCO-LYNCH CORPORATION successor in interest to
UI< so   15   WESTERN CHEMICAL & MANUFACTURING, CO. (for asbestos fiber); THE BOEING
5   2

         16   COMPANY, individually and as successor by merger to McDONNELL DOUGLAS
         17   CORPORATION, successor by merger with DOUGLAS AIRCRAFT COMPANY (for
         18 i aircraft); THE W.W. HENRY COMPANY, L.P. (for roofing mastic); UNION CARBIDE
         19   CORPORATION (for asbestos fiber); UNITED TECHNOLOGIES CORPORATION,
         20. individually and as successor-iri-interest to PRATT & WHITNEY ENGINE SERVICES,
         21   INC. (for aircraft); WESTERN AUTO SUPPLY COMPANY (for automotive products).
         22   Plaintiffs further allege; defendants and DOES 1 through 400, and each of them, inclusive,
         23   designed, manufactured, sold, supplied, distributed and otherwise marketed asbestos
         24   containing products, equipment and systems with original and replacement asbestos-
         25   containing products, components, and integral parts; that defendants and DOES 1 through
         26   400 inclusive specified and required the use of such original and replacement asbestos
         27   containing parts and components that were integral to their respective asbestos containing
         28   products’ normal use and operation and that by design such nonnal use. and operation
                                                         -6-
                                                PLAINTIFF’S COMPLAINT
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                  directly created, generated, released and exposed plaintiff ARTHUR ROSENGREN to
             2    asbestos-containing dust, debris, fiber and particulate from such integral, specified, necessary
             3    and required asbestos products and components; that as a direct and proximate result of all of
             4    the above, plaintiff ARTHUR ROSENGREN was exposed by defendants and DOES 1
             5    through 400, inclusive to asbestos-containing dust, debris, fiber and particulate which
             6    increased his risk of developing the mesothelioma and asbestos disease(s) from which he
             7    now suffers.
             8            8.     Plaintiff is informed and believes, and thereon alleges, that asbestos related
             9    diseases such as mesothelioma, lung cancer, asbestosis, scarring of the lungs and pleural
             10   plaques are progressive lung diseases caused by cumulative inhalation of asbestos fibers
             n    without perceptible trauma and that said diseases result from exposure to asbestos and
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si si        12   asbestos products over a period of time.
4ii          13          9.      As set foith herein this complaint, and as a result of plaintiff ARTHUR
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                  ROSENGREN’s asbestos exposure to the products of and/or on the premises of defendants
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                  and DOES 1 through 400, and each of them, inclusive, plmntiff ARTHUR ROSENGREN
             16   was   diagnosed with mesothelioma on or about May, 2019, which is life threatening,
             17   debilitating and likely terminal, and plaintiff continues to endure great physical pain and
             18   suffering, mental anguish, loss of enjoyment of life and the loss of earnings, earning capacity
             19   and attendant medical expenses; all to the plaintiffs general and special damage in excess of
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             20   the Jurisdictional limits of the unlimited Court.              L%



             21                                   FIRST CAUSE OF ACTION
             22                                           NEGLIGENCE
             23                   (Against All Product Defendants and DOES 1 through 400)
             24           10.    Plaintiff re-alleges and incorporates here by reference, as though fully set forth
             25 I at length herein,-all of the allegations of paragraphs 1 through 9 above, inclusive.
             26           11.    Plaintiff ARTHUR ROSENGREN was a worker and end user who used,
             27   handled or was otherwise exposed to asbestos, asbestos containing products and/or products
             28   designed to be used in association with asbestos products of, and/or products that created an
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              1   asbestos hazard, and/or safety equipment intended to block the entry of asbestos fibers,
              2   and/or by virtue of the creation of asbestos dust and failure to protect from asbestos dust,
              3   and/or on or about the premises of and by, including, but not limited to: CURTISS-
             4    WRIGHT CORPORATION (for aircraft); DAP, INC. k/n/a LA MIRADA PRODUCTS
              5   CO., INC. (for construction products); GENUINE PARTS COMPANY, a/k/a and
             6    individually and as successor in interest to NAPA AUTO PARTS (for automotive products);
             7    HENRY COMPANY LLC (for roofing mastic); HONEYWELL INTERNATIONAL,
             8    INC., f/k/a and individually and as successor in interest to ALLIED SIGNAL, INC.,
             9    individually and as successor in interest to BENDIX CORPORATION and BENDIX
             10   AVIATION       CORPORATION,         HONEYWELL          AEROSPACE,         ALLIEDSIGNAL
             11   AEROSPACE, AVCO CORPORATION, LYCOMING ENGINES, AVCO LYCOMING
    6   8^
    St |l 12      and LYCOMING FOUNDRY AND MACHINE COMPANY (for automotive products and

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                  aircraft products); IMO INDUSTRIES, INC., individually and as successor-in-interest to
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                  DELAYAL STEAM TURBINE COMPANY, ENTERPRISE ENGINE & FOUNDRY
    Cf? s<
i       -s   15   COMPANY, and ADEL PRECISION PRODUCTS CORP. (for Adel ^ Clamps);
             16   LOCKHEED MARTIN CORPORATION, individually and as successor by merger to
             17   GLENN L. MARTIN COMPANY, AMERICAN-MARIETTA CORPORATION, MARTIN
             18   MARIETTA and THE LOCKHEED CORPORATION (for aircraft); NORTHROP
             19   GRUMMAN SYSTEMS CORPORATION, individually and as successor in interest to
             20   NORTHROP        CORPORATION,         NORTHROP        AIRCRAFT,       INC.,    NORTHROP
             21   GRUMMAN CORPORATION and GRUMMAN AEROSPACE CORPORATION (for
             22   aircraft); O’REILLY AUTOMOTIVE STORES, INC. f/k/a CSK AUTO, INC.
             23   individually and as successor in interest to GRAND AUTO, INC. and KRAGEN AUTO
             24   PARTS (for automotive products); O’REILLY AUTO ENTERPRISES, LLC f/k/a CSK
             25   AUTO, INC. individually and as successor in interest to GRAND AUTO, INC. and
             26   KRAGEN AUTO PARTS (for automotive products); SOCO WEST, INC. f/k/a
             27   BRENNTAG WEST, INC. f/k/a SOCO-LYNCH CORPORATION successor in interest to
             28   WESTERN CHEMICAL & MANUFACTURING. CO. (for asbestos fiber); THE BOEING
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                                                    PLAINTIFF’S COMPLAINT
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                 COjMPANY, individually and as successor by merger to McDONNELL DOUGLAS
             2   CORPORATION, successor by merger with DOUGLAS AIRCRAFT COMPANY (for
             3   aircraft); THE W.W. HENRY COMPANY, L.P. (for roofing mastic); UNION CARBIDE
             4   CORPORATION (for asbestos fiber); UNITED TECHNOLOGIES CORPORATION,
             5   individually and as successor-in-interest to PRATT & WHITNEY ENGINE SERVICES,
             6   INC. (for aircraft); WESTERN AUTO SUPPLY COMPANY (for automotive products),
             7   and DOES 1 through 400, and each of them inclusive (hereafter “Product Defendants”)* jr* a
             8   manner that was reasonably foreseeable to said defendants.
             9          12.    At all times herein mentioned, the Product Defendants, and each of them, were
            10   engaged in the business of researching, studying, manufacturing, fabricating, designing,
            11   developing, labeling, assembling, distributing, supplying, leasing, buying, offering for sale,
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            12   selling, inspecting, servicing, repairing, installing, demolishing, contracting for installation,
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“ill 13          contracting others to install, repairing, marketing, warranting, rebranding, manufacturing for

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                 others, packaging and advertising a certain substance, the generic name of which is asbestos
                 and/or products containing asbestos!and/or products which created an asbestos hazard, or are
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            16   engaged in the business of manufacturing, fabricating, designing, assembling, distributing,
            17   selling, and marketing of safety equipment, including respiratory protective,devices which
            18   were intended to block the entry of asbestos fibers into the bodies of workers who were
            19   exposed to asbestos in the workplace and other locations.
            20          13.    At all tim6s herein mentioned, the Product Defendants, and each of them,
            21   negligently and carelessly researched, tested or failed to test, warned or failed to warn, failed
            22   to recall or retrofit, failed to provide protective measures to prevent take home exposure,
            23   failed to warn of the dangers to those who come in contact with users, manufactured and/or
            24   caused to be manufactured, fabricated, designed, developed, labeled, assembled, distributed,
            25   supplied, leased, bought, offered for sale, sold, inspected, serviced, repaired, installed,
            26   demolished, contracted for installation, contracted others to install, repaired, marketed,
            27   warranted, rebranded, manufactured for others, packaged and advertised asbestos and/or
            28   products containing asbestos and/or products which created an asbestos hazard, and/or safety
                                                               -9-
                                                     PLAINTIFF’S COMPLAINT
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                   1    equipment intended to block the entry of asbestos, and those products did, in fact,
                   2    proximately cause personal injuries to users, consumers, workers, persons working around or
                   3    living with persons working with or around such products, and others including plaintiff
                   4    ARTHUR ROSENGREN, while being used in a manner that was intended by or otherwise
                   5    reasonably foreseeable to said defendants, thereby rendering said products unsafe and
                   6    dangerous for use by the consumers, users, bystanders or workers exposed thereto.
                   7           14.    At all times herein mentioned, the Product Defendants, and each of them, had a
                   8    duty to exercise reasonable care while engaging in the activities mentioned above and said
                   9    Defendants breached said duty of reasonable care in that Product Defendants, and each of
                   10   them, failed to safely and adequately design, manufacture and/or sell said defendants’
                   11   products; failed to test said products; failed to investigate the hazards of said products; failed
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    a.| g          12   to recall or retrofit; failed to provide protective measures to prevent take home exposure;
    05       3'
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    liiil          13   failed to warn tliose persons who would be exposed, failed to warn of the dangers to those
    sflsS          14   who come in contact with users, including plaintiff ARTHUR ROSENGREN, of the health
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                        hazards of using saiddefendants’ products; failed to disclose the known or knowable dangers
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                   16   of using said defendants’ products; failed to obtain suitable alternative materials to asbestos
                   17   when such alternatives were available; and as otherwise stated herein.
                   18          15.    On or before 1932, and thereafter, the Product Defendants, and each of them,
                   19   were aware and knew of the dangers associated with breathing asbestos containing dust, and
                   20   said defendants also were aware and knew that users of asbestos and asbestos products, as'
                   21   well as members of the general public who would be exposed to asbestos and asbestos-
                   22   containing products, had no knowledge or information indicating that asbestos could cause
                   23   injury, and said defendants knew that the users of asbestos and asbestos-containing products,
                   24   as well as members of the general public who were exposed to asbestos and asbestos-,
                   25   containing products, would assume, and in fact did assume, that exposure to asbestos and
                   26   asbestos-containing products was safe, when in fact said exposure was extremely hazardous
                   27   to human life; and propagated misinformation intended to instill in users of the Product
                   28   Defendants’ products a false security about the safety of said defendants’ products.
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                                                             PLAINTIFF’S COMPLAINT
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       1           16.    The Product Defendants, and each of them, knew and failed to disclose that
       2   plaintiff ARTHUR ROSENGRJEN and anyone similarly situated, upon inhalation of asbestos
       3   would, in time, have a substantial- risk of developing irreversible conditions of
      4    pneumoconiosis, asbestosis, mesothelioma and/or cancer, and said defendants knew and
       5   failed to disclose that inhalation of asbestos would cause pathological effects without
      6    noticeable trauma to the public, including buyers, users, and physicians such that physicians
      7    could not examine, diagnose and treat those who were exposed to asbestos, including
      S    plaintiff.
      9            17.    The Product Defendants, and each of them, despite said defendants knowledge
      10   of the substantial risks associated with exposure to asbestos, willfully and knowingly
      11   concealed and actively suppressed and promoted the suppression from all consumers,
      12   including plaintiff ARTHUR ROSENGREN, medical and scientific information concerning
iiiil .3   the health hazards associated with inhalation of asbestos, including the substantial risk of
      14   injury or death therefrom in conscious disregard of the rights, safety and welfare of users,

p ll .5    consumers,- workers, persons working around or living with persons working with or around
      16   such asbestop and asbestos-containing products, and others including plaintiff ARTHUR
      17   ROSENGREN.
      18           18. “ Rather than attempting to protect users and workers from, or warn workers and
      19   users of, the high risk of injury or death resulting from exposure to asbestos and asbestos-
      20   containing products, the Product Defendants, and each of them, intentionally failed to reveal
      21   their knowledge of said risk, fraudulently, consciously and actively concealed and
      22   suppressed said knowledge from members of the general public that asbestos and asbestos
      23   products were unsafe for all reasonably foreseeable use, with the knowledge of the falsity of
      24   said implied representations. Said defendants propagated misinformation to instill a false
      25   sense of security and safety to instill in users a false sense of security about the safety of-their
      26   products.
      27           19.   In researching, testing, manufacturing, distributing, labeling, installing and
      28   marketing said products, the Product Defendants, and each of them, did so with conscious
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                                                PLAINTJFF’S COMPLAINT
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             1    disregard for the safety of the users of said products, in that said defendants had specific
            2     prior knowledge that there was a high risk of injury or death resulting from exposure to
            3     asbestos or asbestos-containing products, including but not limited to mesothelioma. Said
            4     knowledge was obtained, in part, from scientific studies, government data, and medical data
             5    to which said defendants had access, as well as scientific studies performed by, at the request
            6     of, or with the assistance of, said defendants, and which knowledge was obtained by said
            7     defendants on or before 1932, and thereafter.
            8            20.    The above referenced conduct of Product Defendants, and each of them, was
            9     motivated by the financial interest of said defendants in the continuing, uninterrupted
            10    distribution and marketing of asbestos and asbestos-containing products. In pursuance of
            n     said financial motivation, said defendants consciously disregarded the safety of the users of,

    if ii n       and persons exposed to, asbestos and asbestos-containing products, and were in fact,
    iiiif 13      consciously willing to permit asbestos and asbestos-containing products to cause injury to
                  workers and users thereof, and persons exposed thereto, including plaintiff
    Sli     15           21.    With said knowledge, Product Defendants, and each of them, opted to
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            16    manufacture, distribute and install said asbestos and asbestos-containing products without
            17    attempting to protect users fi-om or warn users of, the high risk of injury or death resulting
                                                                                                                     1

            18    from exposure to asbestos and asbestos products.
            19           22.    Plaintiff was not aware that exposure to asbestos presented any risk of injury
            20   t^and/or disease to ARTHUR ROSENGREN, and had not been advised or informed by anyone
            21    that he could contract any disease, sickness or injury as a result of working in the vicinity of
            22    asbestos.
            23           23.    Product Defendants, and each of them, were aware that such dust created an
            24    increased risk of asbestos disease for all users, consumers, or others who breathed said
            25    asbestos-containing dust.
            26           24.    Plaintiff is infonned and believes, and based thereon alleges, that the injuries
            27    complained of herein were proximately caused by the negligence of the Product Defendants,
            28    and each of them, in that said defendants knew or should have known that the asbestos dust
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                                                      PLAJNTIFF’S COMPLAINT
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         1   would be generated and released from their asbestos-containing products during the regular
         2   and intended uses of such asbestos products, and that said asbestos-containing products and
         3   the asbestos dust exposure there from created an increased risk of asbestos disease for-all
        4    users, consumers,- or others, including plaintiff, who breathed said asbestos-containing dust
         5   which said defendants knew or should have known was harmful to the body and health of
        6    persons installing, handling, and using asbestos and asbestos-containing products, as well as
        7    to persons in the immediate vicinity of such installation, use and handling, and that such
        8    asbestos products and dust were capable of causing and did, in fact, cause personal injuries
        ■9   to users, consumers and others, while being used in a manner reasonably foreseeable, thereby
        10   rendering said substance unsafe and dangerous for use by plaintiff.
        11          25.    Plaintiff is informed and believes, and based thereon alleges, that the injuries
        12   complained of herein were proximately caused by the negligence of the Product Defendants,
        13   and each of them, in that said defendants failed to take reasonable care to warn the plaintiff
        14   of the danger and harm to which he was exposed while installing, handling and otherwise
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|! ll   15   using said products, as well as while he was in the vicinity of the use, installation, and
        16   handling of said products, and failed to specify, recommend, supply, install, sell, and use
        17   readily available substitutes which do not and did not pose the danger to human health.
        18          26.    The conduct of the Product Defendants, and each of them, as described in this
        19   cause of action was a substantial factor and a legal cause of the injuries and damages
        20   sustained by plaintiff, and that said defendants demonstrated such an entire want of care as to
        21   establish that their acts and omissions were the result of actual conscious indifference to the
        22   rights, safety, and welfare of plaintiff ARTHUR ROSENGREN, and that such intentional
        23   acts and omissions were substantial factors in causing his disease and injuries.
        24          27.    As a direct and proximate result of the aforesaid conduct of said Product
        25   Defendants, and each of them, plaintiff ARTHUR ROSENGREN has suffered, and continues
        26   to suffer, permanent injuries to his person, body and health all to his general damage in a
        27   sum in excess of the jurisdictional limits of this unlimited Court.
        28          28.    As a direct and proximate result of the aforesaid conduct of said Product
                                                           - 13 -
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           1      Defendants, and each of them, plaintiff ARTHUR ROSENGREN was and will be compelled
           2      to and did employ medical services in an amount which has not as yet been fully ascertained
           3      and which will be asserted according to proof at trial.
           4             29.    As a direct and proximate result of the aforesaid conduct of said Product                :

           5      Defendants, and each of them, plaintiff has and/or will suffer loss of income and earnings,
           6      past, present and future and earning capacity in an amount which has not as yet been fully
           7      ascertained and which will be asserted according to proof at trial.
           8             30.    As a direct and proximate result of the aforesaid conduct of said Product
           9    , Defendants, and each of them, plaintiff did necessarily incur and in the future will incur
           10     incidental expenses and damages in an amount which has not as yet been fully ascertained
           11     and which will be asserted according to proof at u-ial.

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           12 -          31.    In particular, plaintiff would show that, as alleged here in this cause of action
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           13     and throughout this complaint, that such intentional, grossly wanton acts and omissions by
lip        14' ’ said Product Defendants, and [DOES 1 through 400, and each of them, and their officers,                r
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           15 ‘ directors, and managing agents, inclusive, were substantial factors in, and participated in,            1

           16 ’ authorized, expressly and impliedly ratified, and had full knowledge of or should have
           17     known, -each of the acts set forth here causing his disease and injuries. As the., above               .•
                                                                                                                         i
           18     referenced conduct complained of in this complaint of said Product Defendaints, and DOES 1        1

           19     through 400, and each of them, and their officers, directors, and managing agents, inclusive,         .1

           20   : was and is vile, base, willful, malicious, fraudulent, oppressive, outrageous,'and said Product       4
                                                                                                                        1
           21     Defendants, and each of them,* inclusive, demonstrated such an entire want of care as to
           22     establish that their acts and omissions were the result of actual conscious indifference to the
           23     rights, safety, and welfare of plaintiff ARTHUR ROSENGREN and of workers exposed to
           24     asbestos and-asbestos products, such that, plaintiff, for the sake of example, and by way of          i
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           25     punishing said defendants, seek punitive damages according to proof.
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                                                      PLAINTIFF’S COMPLAINT
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           1                                        SECOND CAUSE OF ACTION
           2                        .BREACH OF EXPRESS AND IMPLIED WARRANTIES
           3                        (Against All Product Defendants and DOES 1 through 400)
           4                32.    Plaintiff re-alleges and incorporates here by reference, as though fully set forth
           5         at length herein, all of the allegations of paragraphs 1 through 31 above, inclusive.
           6                33.    Defendants and DOES I through 400, and each of them, inclusive, sold and/or
           7         otherwise supplied the asbestos containing products, materials and equipment to Plaintiff
          -8         and/or his employers.
           9                34.    That in connection with the manufacture, preparation, sale, specification,
          10         installation, use, and supply of asbestos products. Product Defendants, and each of them,
          11         expressly and impliedly warranted that said products were of good and merchantable quality

  of ii              and fit for their intended use. However, in truth and in fact, said products contained harmful
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          13 I and deleterious asbestos fibers, known to the defendants herein, to be defective and hannful
"1 ^p|3 14 I to humans exposed thereto.
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    |8    15                35.    Said products were not and are not suitable for the purposes for which said
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          16         products were intended, supplied, and relied upon, nor suitable for any other similar purpose,     j



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          -17        including their use by human beings in confined spaces where humans would be physically
          18         present, working, resting or breathing.
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          19                36.    Plaintiff relied on the express and implied warranties of Product Defendants,
          20         and each of them, in the use of and exposure to said asbestos and asbestos products, 5,and
          21    , plaintiff ARTHUR ROSENGREN was using and/or exposed to said asbestos in a reasonably
          22         foreseeable intended manner.
          23                37.    Product Defendants, and each of them, breached the above-described express
          24         and implied warranties in that said substance was defective, which defects permitted and/or
          25 I caused said substance to seriously and permanently cause injury to plaintiff while using said
          26         substance in a manner that was reasonably foreseeable.
          27                38.    The breaches of warranties by the Product Defendants, and each of them, as
          28         described in this cause of action was a substantial factor and a legal cause of the injuries and
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                                                         PLAINIIFF'S COMPLAllsfT
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             1     damages sustained by plaintiff.
             2            39.    As a direct and proximate result of the above-described breaches of warranties

             3     by said Product Defendants, and each of them, plaintiff ARTHUR ROSENGREN suffered
             4     severe and permanent injuries to his person, and plaintiff suffered damages as alleged above.
             5            40.    In particular, plaintiff would show that, as alleged here in this cause of action

             6     and throughout this complaint, that such intentional, grossly wanton acts and omissions by
             7     said Product Defendants, and DOES 1 through 400, and each of them, and their officers,
             8     directors, and managing agents, inclusive, were substantial factors in, and participated in,

             9    ■ authorized, expressly and impliedly ratified, and had full knowledge of or should have
             10    known, each of the acts set forth here causing his disease and injuries. As the -above
             11    referenced conduct complained of in this complaint of said Product Defendants, and DOES 1

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                   through 400, and each of them, and their officers, directors, and managing agents, inclusive,
i|s3§ 13           was and is vile, base, willful, malicious, fraudulent, oppressive, outrageous, and said Product
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      14           Defendants, and each of them, inclusive, demonstrated such an entire want of care, as to
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       Pi§   15- ; establish that their acts and omissions were the result of actual conscious indifferencerto the
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             16    rights, safety, and welfare of-plaintiff ARTHUR ROSENGREN and of workers exposed to
             17    asbestos and asbestos products, such that, plaintiff, for the sake of example, and by way of
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             18    punishing said defendants, seek punitive damages according to proof.
             19                      >            THIRD CAUSE OF ACTION
             20                                  STRICT LIABILITY IN TORT
             21                   (Against All Product Defendants and DOES 1 through 400)
             22           41.    Plaintiff re-alleges and incorporates here by reference, as though fully set forth
             23    at length herein, all of the allegations of paragraphs 1 through 40 above, inclusive.
             24           42. ■ At all times mentioned herein, the Product Defendants, and each of them,
             25    manufactured, fabricated, designed, developed, labeled, assembled, distributed, supplied,
             26    leased, bought, offered for sale, sold, inspected, serviced, repaired, installed, demolished,
             27    contracted for installation, contracted others to install, repaired, marketed, warranted,
             28    rebranded, manufactured for others, packaged and advertised asbestos and/or products
                                                                 - 16-
                                                       PLAINTIFF'S COMPLAINT
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                  containing asbestos and/or products which created an asbestos hazard, and/or safety
             2    equipment intended to block the entry of asbestos fibers, and that asbestos and/or products
             3    containing asbestos and/or products which created an asbestos hazard and/or safety
             4    equipment intended to block the entry of asbestos fibers were defective in that they were not
             5    as safe as an ordinary consumer of such products would expect; and that the gravity of the
             6    potential harm resulting from the use of the defective products of the Product Defendants,
             7    and each of them, and the risk of said asbestos and asbestos-containing products outweighed
             8    any benefit of the said defendants’ design, when safer alternative designs and materials
             9    existed and were available that could and should have been substituted and used instead of
             10   the deadly asbestos, including providing adequate warning of such potential harm.
             11          43.    At all times mentioned herein, the Product Defendants, and each of them, were

    iii! "        aware of the dangerous and defective nature of asbestos and asbestos-containing products

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                  when they were used in their intended or reasonably foreseeable manner.
                         44.   The Product Defendants, and each of them, placed said asbestos products on
    S* 113   10   the market, knowing the asbestos-containing products would be'used without inspection for
             16   such defects and unsafe conditions, and that said defendants nonetheless took no action to
             17   warn or otherwise protect exposed persons, including plaintiff, who foreseeable would be
             18   exposed to these defective and inadequately labeled asbestos and asbestos-containing
             19   products.
             20         45.    The asbestos and asbestos-containing products, components and assemblies of
             21   the Product Defendants, and each of them, were substantially the same as when they left said
             22   defendants’ possession.
             23         46.    The aforementioned asbestos and asbestos-containing products of the Product
             24   Defendants, and each of them, were used by plaintiff and exposed persons in the manner for
             25   which they were intended or in a manner that was or would be reasonably foreseeable; and
             26   that plaintiff ARTHUR ROSENGREN was exposed to said asbestos and asbestos-containing
             27   products in a manner foreseeable to said defendants.
             28         47.    The dangers inherent in breathing asbestos-containing dust and the dangers
                                                              -17-
                                                     PLAINTIFF’S COMPLAINT
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              1    inherent in asbestos-containing products, components and assemblies were unknown and
              2    unforeseeable to plaintiff ARTHUR ROSENGREN, and plaintiff had not been advised or

              3    informed by anyone that he could contract any disease, sickness or injury as a result of
              4    working in the vicinity of asbestos.
              5           48.    The failure to warn by and the product defect in the asbestos and asbestos-
              6    containing products of Product Defendants, and each of them, were substantial factors and a
              7    legal, cause of plaintiff ARTHUR ROSENGREN’s injuries and damages thereby sustained
              8    by plaintiff, and that said defendants demonstrated such an entire want of care as to establish
              9    that their acts and omissions were the result of actual conscious indifference to the rights,
              10   safety, and welfare of plaintiff ARTHUR ROSENGREN, and that such intentional acts and
              11   omissions were substantial factors in causing his disease and injuries.
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      |l      12          49.    As a direct and proximate result of the aforesaid conduct of said Product
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              13   Defendants, and each of them, plaintiff ARTHUR ROSENGREN suffered severe and
ftm                permanent injuries to his person, and plaintiff suffered damages as alleged above.
              14
U]<   32  S'- 15          50.    In particular, plaintiff would show^that, as alleged here in this cause of action
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              16   and throughout this complaint, that such intentional, grossly wanton acts and omissions by
              17   said Product Defendants, and DOES 1 through 400, and each of them, and their officers,
                                                                                                                     ;■




              18   directors, and managing agents, inclusive, were substantial factors in, and participated in,
              19   authorized, expressly and impliedly ratified, and had full knowledge of or should have
              20   known, each of the acts set forth here causing'his disease and injuries. As the above
              21   referenced conduct complained of in this complaint of said Product Defendants, and DOES I
              22   through 400, and each of them, and their officers, directors, and managing agents, inclusive,
              23   was and is vile, base, willful, malicious, fraudulent, oppressive, outrageous, and said Product
              24   Defendants, and each of them, inclusive, demonstrated such an entire want of care as to
              25   establish that their acts and omissions were the result of actual conscious indifference to the
              26   rights, safety, and welfare of plaintiff ARTHUR ROSENGREN and of workers exposed to
              27   asbestos and asbestos products, such that, plaintiff, for the sake of example, and by way of
              28   punishing said defendants, seek punitive damages according to proof
                                                                  -18-
                                                          PLAINTIFF’S COMPLAINT
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                                                   FOURTH CAUSE OF ACTION
              2                       PREMISES OWNER/CONTRACTOR LIABILITY
              3                   (Against All Premises Defendants and DOES 1 through 400)
              A           51.    Plaintiff re-alleges and incorporates here by reference, as though fully set forth
              5    at length herein, all of the allegations of paragraphs 1 through 50 above, inclusive.
              6           52.    Plaintiff ARTHUR ROSENGREN entered, performed work and was otherwise
              7    on or about the premises of DOES 1 through 400, and each of them, inclusive (hereafter
              8    “Premises Defendants), including performing that which was to defendants’ benefit and
              9    advantage and at defendants’ request and invitation.         In so doing, plaintiff ARTHUR
              10   ROSENGREN was exposed to dangerous asbestos fibers.
              11          53.    At all times herein mentioned, the Premises Defendants, and each of them,
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              12   were the owners, lessors, operators, managers, general contractors, subcontractors or
                   otherwise controlled and maintained certain premises or portions thereof, on which asbestos
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              14   and asbestos-containing products a were fabricated, constructed, manufactured, mixed,
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   fs         15   processed, milled, crushed, dumped; piled, disposed of, installed, maintained, used, repaired,
              16   replaced or otherwise disturbed (hereafter “use(d), handl(ed)(ing) or disturb(ed)(ance)”) by
              17   their own workers and/or by various contractors, so as to allow and cause and as a result,
              18   dangerous airborne asbestos fibers,were present on and about said premises while and/or
              19   prior to the times plaintiff ARTHUR ROSENGREN was present creating a hazardous
              20   condition upon said premises.                         j*



              21          54.    At all times herein mentioned, the Premises Defendants, and each of them,
              22   knew, or in the exercise of ordinary and reasonable care should have known, that the
              23   contractors and/or subcontractors hired and/or retained were not competent, that the premises
              24   in their control would be used as alleged without knowledge of, or inspection for, defects or
              25   dangerous conditions and that the persons working on or using said premises would not be
              26   aware of the aforesaid hazardous conditions on the premises to which they were exposed.
              27          55.    At all times mentioned herein, the Premises Defendants, and each of them,
              28   negligently failed to maintain, manage, inspect, survey, or control said premises, or to abate
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                                                       PLAINTIFF’S COMPLAINT
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               1    or correct, or to warn plaintiff ARTHUR ROSENGREN of the existence of the aforesaid
               2    dangerous conditions and hazards on said premises.
               3           56.     At all times herein mentioned, the Premises Defendants, and each of them,
               4    knew, negligently and’ carelessly used asbestos-containing products in construction and
               5    renovation, hired contractors or subcontractors, created and/or approved building,
               6    specifications, supervised or failed to supervise contractors and subcontractors, researched or
               7    failed to research, tested or failed to test, warned or failed to warn, failed to recall or retrofit,
               8    labeled or failed to label, failed to provide protection for, failed to provide a safe work place,
               9    failed to provide adequate safety measures, devices and equipment, failed to provide
               10   adequate ventilation, failed to provide adequate signs, used asbestos-containing products in
               11   construction and renovation and failed to provide sufficient protection to plaintiff from
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               12   hazards of asbestos, the danger of which said defendants were aware.
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               13          57.    At all times herein mentioned, the asbestos-containing products, including but
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                    not limited to, asbestos-containing building materials and products to be used, handled                 *
        a|8    15   and/or disturbed on the-'premises of Premises Defendants, and each of them, caused personal
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               16   injuries to users, consumers, workers and others, including plaintiff ARTHUR
               17   ROSENGREN, while being used, removed and/or handled in a manner reasonably
               18   foreseeable, thereby rendering these premises unsafe and dangerous to consumers, users,
               19   bystanders or workers exposed thereto, including plaintiff ARTHUR ROSENGREN.
               20          58.    At all tirhes herein mentioned, the Premises Defendants, and each of them,                >

               21   knew and could foresee'that asbestos and asbestos-containing products used, handled and/or
               22   disturbed on the said defendants’ premises, and the asbestos dust, debris, fiber and
               23   particulate released from the same, created an unreasonable risk of hann to persons entering
               24   upon or present near or about the premises of said defendants.
               25          59.    At all times herein mentioned, the Premises Defendants, and each of them,
               26   knew and could reasonably foresee, or in the exercise of ordinary care should have known,
               27   that said premises would be entered by persons, including plaintiff ARTHUR
               28   ROSENGREN, without knowledge of, or inspection for, defects or dangerous conditions and
                                                                    -20-
                                                          PLAINTIFF’S COMPLAINT
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                     that said persons would not be aware of the aforesaid unreasonable risk of harm.
                 2           60.    At all times herein mentioned, the Premises Defendants, and each of them,
                 3   knew and reasonably could foresee, or in the exercise of ordinary care should have known,
                 4   that the asbestos dust, debris, fiber and particulate released into the ambient air on and about
                 5   the premises of said defendants generated from the same above-described use, handling
                 6   and/or disturbance of the asbestos and asbestos-containing products, including asbestos­
                 7   laden waste derived from the premises of said defendants, was dangerous and created an
                 8   unreasonable risk of harm to persons entering upon or being present near or about the
                 9   premises of said defendants.
                10          61.     At all times herein mentioned, the Premises Defendants, and each of them, had
                11   a duty to disclose the presence of, and the dangers and hazards presented by and associated
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                12   with the asbestos-containing products and the asbestos fibers released and generated from the
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                13   same above-described use, handling and/or disturbance thereof on and about the premises of

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                14   said defendants.
    iu< as      15          62.     At all times herein mentioned, the Premises Defendants, and each of them, had
    5   =

                16   a duty to disclose the presence of, and the dangers and hazards presented by and associated
                17   with the asbestos dust, debris, fiber and particulate released into the ambient air on and about
                18   the premises of said defendants, including asbestos-laden waste derived from the premises of
                19   said defendants.
                20          63r    At all times'herein mentioned, the Premises Defendants, and each of them, had
                21   a duty to properly remove and/or abate said asbestos at these facilities before or during his
                22   presence, but failed to do so. The unreasonably dangerous conditions at these facilities was
                23   of such a nature and existed long enough so that it was, or reasonably should have been,
                24   discovered and corrected by a premises owner using reasonable care.
                25          64.    At all times herein mentioned, plaintiff was continuously exposed to asbestos
                26   and asbestos-containing dust while on or about the premises of the Premises Defendants
                27   without the provision of appropriate safeguards by said defendants who had the duty
                28   responsibility for such.
                                                                  -21 -
                                                        PLAINTIFF’S COMPLAINT
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                  1             65.    Despite the knowledge by the Premises Defendants, and each of them, of the
                  2      aforesaid risks of harm from asbestos and asbestos products generally, and from the asbestos
                  3 I dust, debris, fiber and particulate in the ambient air on or about the premises of said

                  4      defendants generated from the same above-described use, handling andyor-disturbance of
                  5      asbestos and asbestos-containing products on and about the premises of said defendants, said
                  6      Premises Defendants, and each of them, failed to disclose or warn persons forseeably
                  7      exposed to asbestos, including plaintiff, of those asbestos hazards and dangers.
                  8             66.    Plaintiff ARTHUR ROSENGREN was unaware of the risk of harm created by
                  9      the aforesaid presence of asbestos products and materials on said premises of the Premises
                  10     Defendants, and each of them; and plaintiff was also unaware of the unreasonable risk of
                 -11     harm created by the aforesaid dangerous asbestos dust, debris, fiber and particulate in the
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                  12     ambient air on and about the premises of said defendants.
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                  13            67.    At all times herein mentioned, the Premises Defendants, and each of them,
    = 5 i t rf    14 retained control of the work and negligently failed to implement, and/or failed to have others
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                  f5 implement, /proper safety precautions, and/or the use of proper work practices to guard^
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                  16     against those asbestos hazards on the premises of said defendants thereby creating an
                  17     unreasonable risk of.harm to persons entering or being on, about or around said asbestos-       .i

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                  18     contaminated premises.
                  19 :          68.    Despite said knowledge, defendants, including Premises Defendants, and each
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                 ■20' of them, misrepresented that their premises were safe and free of defects, and/or failed to
                                                                                                                         I
                 21 ■ disclose, and concealed, the presence of the asbestos dust, debris, fiber and particulate in the
                 22      ambient air on or about the premises of said defendants generated from the same above-
                 23      described use, handling and/or disturbance of asbestos and asbestos-containing products on
                 24 and about the premises of said defendants, including asbestos-laden waste derived from the
                 25 1 premises of said defendants, thereby creating an unreasonable risk of harm to persons              ;

                 26      entering said premises and other exposed persons, including plaintiff.
                 27             69.    In reliance upon the foregoing acts, omissions and representations, plaintiff
                 28      ARTHUR ROSENGREN entered and was present upon and/or performed work on said
                                                                      -22-
                                                            PLAINTIFF’S COMPLAINT
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              1      premises of the Premises Defendants, and each of them, which was to defendants’ benefit
              2      and advantage and at defendants’ request and invitation; whereupon there was dangerous
              3      asbestos dust, debris, fiber and particulate in the ambient air as a result of the same above-
              4      described use, handling and/or disturbance of asbestos and asbestos-containing products on
              5      and about the premises of said defendants, including asbestos-laden waste derived from the
              6      premises of said defendants. In so doing, plaintiff was exposed to dangerous asbestos fibers
              7      for which Premises Defendants are liable.
              8              70.   At all times herein mentioned, despite the knowledge by the Premises
              9      Defendants, and each of them, of the aforesaid risk of harm from asbestos ^and/or„asbestos
              10     products on or from its premises, said defendants retained control of the work and
              11     negligently failed to implement, and/or failed to have others implement, proper safety
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                     precautions, and/or the use of proper work practices to guard against those asbestos hazards
    of
              13     from the same above-described use, handling and/or disturbance of asbestos and/or asbestos
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                     products on or from said defendants’ premises creating an unreasonable risk of harm to
                    ’ persons entering or being on, about or around said asbestos-contaminated premises.
              16             71.   At all times herein mentioned, the Premises Defendants, and each of them,           i


              17     were aware and knew of the dangers associated with breathing asbestos containing dust, and
              18     that users of asbestos and asbestos products, as well as persons entering or being on, about or
              19    -around the premises who would be exposed to asbestos and asbestos-containing products,
                                                                                                                           !
              20    hhad no knowledge or information indicating that asbes'tos could cause injury, and said
              21     Premises Defendants knew that the users of asbestos and asbestos-containing produces, as
              22     well as persons entering or being on, about or around the premises who-were exposed to
              23     asbestos and asbestos-containing products, would assume, and in fact did assume, that
          .   24-    exposure to asbestos and asbestos-containing products was safe, when in fact said exposure
              25     was   extremely hazardous to human life; and intended' to instill a false security about the
              26     safety of the premises.
              27             72.   The Premises Defendants, and each of them, knew and failed to disclose that
              28     plaintiff ARTHUR ROSENGREN and anyone similarly situated, upon inhalation of asbestos
                                                                  -23-
                                                        PLAINTIFF’S COMPLAINT
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                 1       would, in time, have a substantial risk of developing irreversible conditions of
                 2       pneumoconiosis, asbestosis, mesothelioma and/or cancer, and knew and failed to disclose
                 3       that inhalation of asbestos would cause pathological effects without noticeable trauma to the
                 A public, including buyers, users, and physicians such that physicians could not examine,
                 5 I diagnose and treat those who were exposed to asbestos, including plaintiff.
                                                                                                                                   ;
                 6              73.    Despite said Premises Defendants knowledge of the substantial risks associated
                 7 j with exposure to asbestos, willfully and knowingly concealed and actively suppressed and
                 8       promoted the suppression from all consumers and persons entering or being on said
                9 ’ premises, including plaintiff ARTHUR ROSENGREN, medical and scientific information
                10' concerning the health hazards associated with inhalation of asbestos, including the
                11       substantial risk of injury or death therefrom in conscious disregard of the rights, safety and
                         welfare of users, consumers, workers, persons working on around the premises or living with
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    sii3i 13             persons entering or being on, about or around said asbestos-contaminated premises.
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                14:             74.    Rather than attempting to protect, or warn persons entering or being on, about
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                15; . or around the premises, the high risk of injury or death' resulting from exposure to asbestos
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                16       and asbestos-containing products, the Premises Defendants, and each of them, intentionally
                                                                                                                               ;
                17       failed to reveal their knowledge of said risk, fraudulently, consciously and actively concealed
i               18 ’ arid Oppressed said knowledge from persons entering or being on, about or around the                      >
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                19 . premises that asbestos and asbestos products were unsafe for all reasonably foreseeable use,
                                                                                                                               I
    t           20       with the knowledge of the falsity of sa'id implied representations.           Said defendants
                21- propagated misinformation to instill a false sense of security and safety to instill in persons
                22       entering or being on, about or around the premises a false sense of security about the safety         i



                23       of the premises.
                24              75.    In so doing, the Premises Defendants, and each of them, did so with conscious
                25       disregard for the safety of persons entering or being on, about or around the premises, in that       ;

                26       said defendants had specific prior knowledge that there was a high risk of injury or death            5


                27       resulting from exposure to asbestos or asbestos-containing products’being used on the
                                                                                                                               '
                28       premises, including but not limited to mesothelioma. Said knowledge was obtained, in part,
                                                                      -24-
                                                            PLAINTIFF'S COMPLAINT
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              1   from scientific studies, government data, and medical data to which said defendants had
             2    access, as well as scientific studies performed by, at the request of, or with the assistance of,
             3    said defendants, and which knowledge was obtained by said defendants on or before 1932,
             4    and thereafter.
             5           76.    The above referenced conduct of said Premises Defendants, and each of them,
             6    was motivated solely by the financial interest of said defendants and in pursuance of said
             7    financial motivation, said defendants consciously disregarded the safety of the users of, and
             8    persons exposed to, asbestos and asbestos-containing products, and were in fact, consciously
             9    willing to permit asbestos and asbestos-containing products to cause injury to workers and
             10   users thereof, and persons exposed thereto, including plaintiff.
             11          77.    With said knowledge, said Product Defendants, and each of them, opted to
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si ii 12          manufacture, distribute and install said asbestos and asbestos-containing products.
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                         78.    Despite the knowledge by the Premises Defendants, and each of them, of the
                  aforesaid risk of harm from asbestos and/or asbestos products on or from its premises, and
         i
iu< SO   8 15     without attempting to protect persons entering or being on, about or around the premises of
5    =
             16   the high risk of injury or death resulting from exposure to asbestos the said defendants’
             17   premises^ the Premises Defendants, and each of them, negligently provided unsafe
             18   equipment, products and materials, including, but not limited to, asbestos and asbestos-
             19   containing products, to workers and others, including plaintiff ARTHUR ROSENGREN,
                                                                                                                      !
             20   which created a risk of harm, to persons entering said premises and persons exposed to
             21   asbestos dust, debris, fiber and particulate from the asbestos and asbestos-containing
             22   products used, handled or disturbed as hereinabove described on the premises of Premises
             23   Defendants.
             24         79.     The unreasonably dangerous conditions at the premises of the Premises
             25   Defendants was of such a nature and existed long enough so that it was, or reasonably should
             26   have been, discovered and corrected by said defendants using reasonable care.
             27         80.     As a consequence, exposed persons, including plaintiff, entered and perfonned
             28   work in and on said premises which was to defendants’ benefit and advantage and at
                                                                -25-
                                                      PLAINTIFF’S COMPLAINT
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               1    defendants’ request and invitation. In so doing and as a consequence thereof, plaintiff was
               2    exposed to dangerous quantities of asbestos dust, debris, fiber and particulate from the
               3    premises of Premises Defendants.
               4           81.    Plaintiff was unaware of the risk of hann created by the aforesaid presence of
               5    asbestos products and materials on said premises and negligent provision of equipment,
               6    products and materials, including, but not limited to, asbestos and asbestos-containing
               7    products.
               8           82.    The conduct of Premises Defendants, and each of them, were a substantial

               9    factor and a legal cause of plaintiff ARTHUR ROSENGREN’s injuries and damages thereby
               10   sustained by plaintiff, and that said defendants demonstrated such an entire want of care as to
               11   establish that their acts and omissions were the result of actual conscious indifference to the
          ii   12   rights, safety, and welfare of plaintiff ARTHUR ROSENGREN, and that such intentional
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               13   acts and omissions were substantial factors in causing his disease and injuries.
               14          83.    Plaintiff ARTHUR ROSENGREN’s injuries and disease were the result^of
    ^ 11
                    intentional acts and/or omissions, gross negligence and malice in the use of asbestos at die
    r          15

    ■*e        16   premises of the Premises Defendants, and each of them, in that said defendants had a duty to
               17   properly remove and/or abate said asbestos at these facilities before or during his presence,     T




               18   but failed to do so.
               19          84.    As a direct and proximate result of the aforesaid conduct of said Premises
               20   Defendants, and. each of them, plaintiff ARTHUR ROSENGREN suffered severe and                     I

               21   permanent injuries to his person, and plaintiff suffered damages as alleged above.
               22          85.    In particular, plaintiff would show that, as alleged here in this cause of action
               23   and throughout this complaint, that such intentional, grossly wanton acts and omissions by
               24   said Premises Defendants, and DOES 1 through 400, and each of them, and their officers,
               25   directors, and managing agents, inclusive, were substantial factors in, and participated in,
               26   authorized, expressly and impliedly ratified, and had full knowledge of or should have
               27   known, each of the acts set forth here causing his disease and injuries. As the above
               28   referenced conduct complained of in this complaint of said Premises Defendants, and DOES
                                                                 -26-
                                                       PLAINTIFF’S COMPLAINT
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                     1            1 through 400, and each of them, and their officers, directors, and managing agents,
                     2           inclusive, was and is vile, base, willful, malicious, fraudulent, oppressive, outrageous, and
                     3           said Premises Defendants, and each of them, inclusive, demonstrated such an entire want of
                     4           care as to establish that their acts and omissions were the result of actual conscious
                     5           indifference to the rights, safely, and welfare of plaintiff ARTHUR ROSENGREN and of
                     6           workers exposed to asbestos and asbestos products, such that, plaintiff, for the sake of
                     7           example, and by way of punishing said defendants, seek punitive damages according to
                     8           proof
                    9                     WHEREFORE, plaintiff prays judgment against defendants, and DOES 1 through
                    10       . 400, and each of them, inclusive, as follows:
                    11                    1. For general damages according to proof;
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                    12                    2. For special damages according to proof;
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                    13                    3. For medical and related expenses according to proof;
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    1               14                    4. For loss of income, earning capacity, earning potential according to proof;
■   i                        :
              S3    15                    5. For exemplary or punitive damages according to proof;                         ■j



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                    16                    6. For costs of suit herein;
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                    21           ////

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                    23           ////

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                                                                                 -27-
                                                                         PLAINTIFF’S COMPLAINT
                Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 37 of 68 Page ID #:48




                                      7. For prejudgment interest on all damages as allowed by laws; and
                      2               8. For such other and further relief as the Court deems just and proper.
                      3         DATED; October 3, 2019.            WEITZ & LUXENBERG, P.C..
                     • 4

                      5                                            BY;
                                                                      MARC WILLICK
                      6                                               Attorneys for Plaintiff
                      7

                      8     *                                  DEMAND FOR JURY TRIAL
                      9               Plaintiff demands a jury trial on all issues.
                      10        DATED; October 3, 2019.            WEITZ & LUXENBERG, P.C.
                      11
          o     I-
       il ii 12                                                    BY:>^ >
          ceg   “S
                                                                      MArc WILLICK
     i i§|p 13                                                        Attorneys for Plaintiff
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                                                                   PLAINTIFF’S COMPLAINT
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 38 of 68 Page ID #:49




                                           PRELIMINARY FACT SHEET
                                              (PERSONAL INJURY COMPLAINT)



   I.        BACKGROUND INFORMATION

   Name: Arthur Rosengren

   Address: 13163 Shenandoah Dr                                  City: Lakeside                  State: CA

   Number of years at present address: 50+                    Number of years living in current state: 60+

   Date of8irth:4/22/1932

   Based on the current facts, do plaintiff(s) intend on filing a motion for preference?

    X        Yes              No             Do Not Kjiow

   Have you received, or have you applied for, Medicare benefits or Social Security Disability benefits?
   ______ Yes            X      No

   Have you ever resided in California? 21      Yes                     .No.    If YES, provide cities in California
   where you resided and the dates you resided in each city.

   City      San Diego. Lakeside                                        Dates     955 - Present ,




   11.       EXPOSURE (See Attachment)

   Date of First Claimed Asbestos Exposure: 1949                 Date of Last Claimed Asbestos Exposure 1993

   For each asbestos-containing product to which you claim you were exposed, please provide the
   following information (fill in the chart):                                                                            !



         Defendant      Product at Issue         Date(s) of          Employer          Location of        Type of
                                                 Exposure                               Exposure      Exposure (Direct
                                                                                                       Occupational,
                                                                                                           Para-
                                                 (SEE ATTACHMENT]                                     Occupaltonal or
                                                                                                           Non-
                                                                                                       Occupational)




   PrcliiniDuiy Paci Sheet Personal Injury                                                                    Page I 1
   Fxhibii I to Case Monagement Order
>
    Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 39 of 68 Page ID #:50




        Have you ever served in the military? 21                 Yes                    No

        ]f yes:

        (a)       Identify the branch of service: US Navy Reserve

        (b)       Identify the dates of service: 1949-1953

        (c)       Identify the rank and title: ADRi______

        HI.       MEDICAL HISTORY

        1.        Which of the following diseases have you been diagnosed with? Check all that apply:

            X      Mesothelioma (pleural)
                   Mesothelioma (peritoneal)
                   Lung Cancer - Squamous Cell/Adenocarcinoma/Small Cell/Other (circle one)
                   Asbestosis
                   Pleural Disease
                   Other      Specify:,_________ ^___________________ _______ . . -_______

        2.        Date of diagnosis and name of diagnosing.docior (per disease, if more than one):,
                  5/23/2019: Helene Saffer
;

        3         Does any pathology material exist for the individual claiming an asbestos-related injury?
                                                                                                                   f
                  X      Yes              No
                  If YES, please identify what material exists and where it is presently located:.                 :•
                  Sharp Healthcare Lab, 5651 Copley Dr. San Diego, CA 92111 ^
                                                                                                                   !■




       4.         Have you ever smoked?          X       Yes            No
                  If YES, state years and quantity smoked::1944-1967:1 ppd                                         I



                                                                                                                   /




                                                                                                                   ;




                                                                                                                   :•
       Preliminary Fact Shed • Personal Injury                                                          . P«ge|2
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 40 of 68 Page ID #:51



                                                                     II. EXPOSURE




             Defendant              Product at Issue    Daic(s)or         Employer           Locniionor           Type of
                                                        Exposure                              Exposure        Exposure (Direct
                                                                                                               Occupoiional.
                                                                                                                   Pam-
                                                                                                              Occupolional or
                                                                                                                   Nor>*
                                                                                                               Oeci'!V»‘onal)
                                                       1949*1993 US Naval Reserves,     St. Louis, MO:     Direct Occupational
                                                                 Solar Aircraft. Roar   San Diego, CA
       CURTISS-WRI6H7                                            Aircraft, Maxwell
                                                                                                                                      T
       CORPORATION              for aircraft                     Laboratories
                                                       1960s-    N/A                    San Diego County   Direct Occupational
       DAP, INC. k/n/a LA                              19705
       MIRADA PRODUCTS for construction
       CO.. INC.          products
                                                       1970s        N/A                 San Olego County   Direct Occupational
       GENUINE PARTS
       COMPANY, a/k/a
       and individually and
       as successor In
       interest to NAPA     for automotive
       AUTO PARTS           products
       HENRY COMPANY                                   1960s-    N/A                    San Diego County   Direct Occupational
       LLC                  for roofing mastic         1970s .
                                                       1949-1993 US Naval Reserves.     St. Louis, MO;     Direct Occupational
                                                                 Solar Aircraft, Roar   San Diego, CA
                                                                 Aircraft, Maxwell
       Noneywell                                                 Laboratories
       INTERNATIONAL,
       INC., f/k/a and
       Individually and as
       successor in interest                                                                                                          !
       to ALUED SIGNAL.
       INC., Individually                                                                                                        ft
       and as successors
       interest to 6ENDIX
       CORPORATION and
       BENDIX AVIATION
       CORPORATION,
       HONEYWELL
       AEROSPACE,
       ALLIEDSIGNAL
       AEROSPACE, AVCO
                                                                                                                                      I
       CORPORATION,
       LYCOMING
       ENGINES, AVCO                                                                                                                  i
       LYCOMING and
       LYCOMING
                                                                                                                                      !
       FOUNDRY AND           for automotive
       MACHINE               products and
       COMPANY               aircraft products




       Preliminary Fact Sheet
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                                                              II. EXPOSURE




                                              1949-1993 US Naval Reserve!,     St. Louis, MO;     Direct Occupational
                                                        Solar Aircrah, Roar    San Olego, CA
       IMO INDUSTRIES,                                  Aircraft, Maxwell
       INC., individuallv                               Laboratories .
       and as successor-in-
       interest to OELAVAL
       STEAM TURBINE
       COMPANY,
       ENTERPRISE ENGINE
       a FOUNDRY
       COMPANY, and
       ADEL PRECISION
       PRODUCTS CORP.       (or Adel Clamps
       LOCKHEED MARTIN for aircraft           1949-1993 US Naval Reserves,     St. Louis, MO;     Direct Occupational
       CORPORATION,                                     Solar Aircraft, Roar   San Diego, CA
       individuallv and as                              Aircraft, Maxwell
       successor by merger                              Laboratories
       to GLENN L
       MARTIN COMPANY,
       AMERICAN-
       MARIEHA
       CORPORATION,
       MARTIN MARIETTA
       and THE LOCKHEED
       CORPORATION




       NORTHROP              for aircraft     1949-1993 US Naval Reserves,     St. Louis, MO;     Direct Occupational       »
       GRUMMAN                                          Solar Aircraft, Roar   Sar> Diego, CA                           9
       SYSTEMS                                          Aircraft, Maxwell
       CORPORATION,                                     Laboratories
       individually and as                                                                                                      i
       successor in Interest
       to NORTHROP                                        I
       CORPORATION.
                                                                                                                                '
       NORTHROP                                                                                                                 i
       AIRCRAFT, INC,
       NORTHROP
                                                                                                                                i
       GRUMMAN
       CORPORATION and                                                                                                  I
       GRUMMAN                                                                                                                  }
       AEROSPACE
       CORPORATION                                                                                                              >
       O’REILLY              for automotive   1970s      N/A                   San Diego County   Direct Occupational
       AUTOMOTIVE            products                                                                                           I
       STORES, INCf/k/a
       CSK AUTO. INC.
       individually and as
       successor In interest
       to GRAND AUTO,
       INC. and KRAGEN
       AUTO PARTS




       Preliminary Fact Sheet
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              Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 42 of 68 Page ID #:53



                                                                                 II. EXPOSURg




                      O'REILLY AUTO         lor automotive       1970s       N/A                  San Diego County   Direct Occupational
                      ENTERPRISES, LLC      products
                      f/k/a CSKAUTO.
                      INC. individually and
                      as successor in
                      Interest to GRAND
                      AUTO. INC. and                                                                                                            t
                      KRAGEN AUTO
                      PARTS
                                                                                                                                                i
                      SOCO WEST. INC.       for asbestos fiber   19G0S-      N/A                  San Diego County   Direct Occupational
                                                                                                                                                1
                      f/k/a BRENNTAG                             1970s                                                                          i
                      WEST. INC. f/k/a
                      SOCO-LYNCH
                      CORPORATION
                      successor in Interest
                      to WESTERN
                      CHEMICAL &
                      MANUFACTURING,
                                                                                                                                                ;
                      CO.

                                                                 1949-1993 US Naval Reserves,     St. Louis, MO:     Direct Occupational
                                                                           Solar Aircraft, Roar   San Diego, CA
                     THE BOEING                                            Aircraft, Maxwell
                                                                                                                                                r
                     COMPANY,                                              Laboratories
                                                                                                                                                t
                     individually and as
                     successor by merger
                     to MCDONNELL
                     DOUGLAS
                     CORPORATION,
                     successor by merger
                     with DOUGLAS
                     AIRCRAFT                                                ;
                     COMPANY.            for aircraft
                     THE W.W. HENRY '                            1960$- ' N/A                     Sah Olegd County   Direct Occupational
    I   .*■
                     COMPANY, LP.        for roofing mastic.     1970s                                                                  i
                     UNION CARBIDE                               1960s- ! N/A                     San diego County   Direct Occupational
                     CORPORATION         for asbestos fiber.     1970$
                                                                                                                                            I
                                                                 1949-1993 US NavalRes'erves,     St. Louis, MO;     Direct Occupational
                     UNITED                                                Solar Aircraft. Roar   San Diego, CA
                     TECHNOLOGIES                                          Aircraft, Maxwell
                     CORPORATION,                                          Laboratories
                     Individually and as
                     successor-in-
                                                                                                                                                1
                     interest to PRATT &
                     WHITNEY ENGINE
                     SERVICES. INC.      for aircraft
                                         for automotive          1970$      N/A                   San Diego County   Direct Occupational
                     WESTERN AUTO        products
                     SUPPLY COMPANY


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                     Preliminary Fact Sheet
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                      Benno Ashrafi, Esq. (CSBN 247623)                                 CONt-OrtMtU COPY
                      Marc WiDick, Esq. (CSBN 175379)                                      ORIGINAL FILeO
                      WEJTZ & LXJXENBERG, P.C.                                         ■'uperiof CoiJ«t ol Calllo>nif»
                •2                                                                        ....... .   • -- '<
                      1880 Century Park East, Ste. 700
                3     Los Angeles, California 90067                                           OCT 03 2019                                I
                      Telephone: (310) 247-0921
                4                                                                       K.«
                      Facsimile: (310)786-9927                                                                  -.Deputy
                5
                      Attorneys for Plaintiff                                                                                            I

                6

                7
                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                8
                                                 FOR THE COUNTY OF LOS ANGELES
                9

                10

                11    Coordinated Proceeding                         CASE NO.       19STCV35225                                          1
      o    §„         Special Title (Rule 3.550)
      « p             LAOSD ASBESTOS CASES.. ^
      mlpli 13
                      ARTHUR ROSENGREN, an individual;                                                                                   i
      393£M     t A                                                                                                                      f
                                                                     PLAINTIFF’S NOTICE OF DEPOSITING
      Ng It                       Plaintiff,                                                                                             I
      |5,«8     15                                                   JURY FEES                                             I

I                       V./                                                                                                     .1
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I '
                17    CURTISS-WRIGHT CORPORATION, et al..                                                                      ii
                                                                                                                                     I   ;•
                                                                                                                                         i
                                                                                                                                         I
I               18                Defendants.                                                                                            I




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                                                PLAINTIFF’S NOTICE OF DEPOSITING JURY FEES
                                                                    . I-                                        C/'



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         Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 44 of 68 Page ID #:55




                ]          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD HEREIN:
               2           PLEASE TAKE NOTICE that pursuant to California Code of Civil Procedure Section
               3    631(b), Plaintiff now deposits jury fees with Los Angeles Superior Court in connection with the
               4    above-captioned matter.
               5           TO:     The above court, the Clerk thereof, and all concerned parties:
               6           The above-entitled case, having requested a jury trial, the statutory fee of one hundred and
               7    fifty dollars ($150.00) prescribed as and for the first day’s deposit for trial by jury, is tendered
               8    herewith on behalf of Plaintiff.
               9
                    DATED: Octobers, 2019                                WEITZ & LUXENBERG, P.C.
               10
               11
     o   Ip.
         if    12                                                        Marc Willick, Esq.
                                                                         Attorneys for Plaintiffs
     ii!       13

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                                               PLAINTIFF’S NOTICE OF DEPOSITING JURY FEES
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>         Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 45 of 68 Page ID #:56

    [•


                                                                                                              RMarv»4 Iw CiarX's Tto Stanip
                           SUPERIOR COURT OF CALIFORNIA
                              COUNTY OF LOS ANGELES
            COURTHOUSE ADDRESS:                                                                                        FILED
           Spring Street Courthouse                                                                          Si^iorior Court ql CaWarfa
                                                                                                               Coiintybl LosAnt^tes
           312 North Spring Street, Los Angeles, CA 90012
                                                                                                                   10/03/2019
                                                                                                    &ioT» R Csi». Ewcoft'e Oftoor / CcA ot Coir
                                NOTICE OF CASE ASSIGNMENT
                                                                                                      By.             Sieve pfew.         .-Ospyly
                                  UNLIMITED CIVIL CASE

                                                                                              CASE NUMBER:

            Your case is assigned for all purposes to the judicial ofTicer indicated below.   19STCV35225

                                   THIS FORM IS TO BE SKRVED WITH THE SUMMONS AND COMPLAINT

                         ASSIGNED JUDGE              DEPT      ROOM                     ASSIGNED JUDGE                     ■ DEPT         ROOM'
             ✓     David S. Cunningham               15                   -I




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             Given to the PiaimifT/Cross-compiainani/Atiorncy of Record    Sherri R. Carter, Executive Officer / Clerk of Court
             on 10/03/2019                                                          By Steve Drew                                             Deputy Clerk
                        (Oatcl
         LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
         LASC Approved 05/06
>
      Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 46 of 68 Page ID #:57




                                       Instructions tor handling Ui\LiMni:i) civil casks

     The following crilical provisions of the California Rules of Conn, Title 3, Division 7, as applicable in the Superior Court, arc summarized
     for your assistance.

    APPLICATION
    The Division 7 Rules were effective January 1.2007. They apply to all general civil cases.

    PRIORITY OVER OTHER RULES
    The Division 7 Rules shall have priority over all other Local Rules to the extent the others arc inconsistent.

    CHALLENGE TO ASSIGNED JUDGE
    A challenge under Code of Civil Procedure Section 170.6 must be made within IS days after notice of assignment for all purposes
    to a judge, or if a party has not yet appeared, within 15 day.s of the first appearance.

    TIME STANDARDS
    Cases assigited to the Independent Calendaring Courts will be subject to processing under the following time standards:.

    COMPLAINTS
    All complaints .shall be served within 60 days of filing and proof of service shall be filed within 90 days.

    CROSS-COMPLAINTS
    Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross­
    complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

    STATUS CONFERENCE
    A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
    complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
    trial date, and expert witnesses.

    FINAL STATUS CONFERENCE
    The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
    parties shall have motions in limine, bilurcation motions, statements of major evidentiary issues, dispositive motions, requested
    form jury instructions, special jury instructions, and special jury verdicts timely filed and'served prior to the conference. TTiese
    matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
    lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
    by Chapter Three of the Los Angeles Superior Court Rules.

    SANCTIONS
    The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
    Court, and lime standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
    or if appropriate, on counsel for a party.

    This Is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
    therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
    compliance with the actual Chapter Rules is imperative.

     Class Actions
     Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courtliouse and are randomly assigned to a complex
    judge at the designated complex courthouse. If the case is found not to be a class notion it will be returned to an Independent
    Calendar Courtroom for all purposes.

    * Provisionally Complex Cases
    Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for deiennination of
    complex status. If the case is deemed to be complex wnthin the meaning of California Rules of Court 3.400 et seq., it will be
    randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be ■
    returned to on Independent Calendar Courtroom for all purposes.




    LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
    LASC Approved 05/06
»
    Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 47 of 68 Page ID #:58




                                       VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                          The Early Organizational Meeting Stipulation, Discovery
                                       Resolution Stipulation, and Motions in Limine Stipulation are
        Supgrior Court of California   voluntary stipulations entered into by the parties. The parties
        County of Los Angolos
                                       may enter into one. two, or all three of the stipulations;
                                       however, they may not alter the stipulations as written,
        I ._ACBA
        Los Angelos County
        Bar Association
                                       because the Court wants to ensure uniformity of application.
                                       These stipulations are meant to encourage cooperation
        Litigation Section

        Los Angeles County
                                       between the parties and to assist in resolving issues in a
        Bar Association Labor and
        Employment Law Section         manner that promotes economic case resolution and judicial
                                       efficiency.
         0-
                                           The       following   organizations   endorse   the   goal       of
        Consumer Attorneys
        Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                       consider using these stipulations as a voluntary way to
                                       promote communications and procedures among counsel
                                       and with the court to fairly resolve issues in their cases.

                                       4Los Angeles County Bar Association Litigation Section^                   i
        Southerrt California
        Defense Counsel
                                                     4 Los Angeles County Bar Association
                                                                                                                 !
                                                      Labor and Employment Law Section^
                                                                                                        i

        Association of
        Business Trial Lawyers             ^Consumer Attorneys Association of Los Angeles4


                                                 ^Southern California Defense Counsels
        1                 a
        3?
                          i;-
                                                 ^Association of Business Trial Lawyers#

        California Employment
        Lawyers Association
                                             ♦California Employment Lawyers Association#


              LACIV 230 (NEW)
              LASC Approved 4-11
              For Optional Use
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 48 of 68 Page ID #:59




  NAME               aHOANEv   OA PARTY     A IIOANEV:                 9 TAT CM NUMBER                  OcvVt n« C**rt>p




            TELEPHONE NO.;                               PAX NO. (Optional):
   E-MAIL ADDRESS (Optional):                                                                                                  I
      ATTORNEY FOR (Name);                                                                                                     :
  SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:

  PLAINTIFF:


  DEFENDANT:


                                                                                         CASE NUMBER:
             STIPULATION - EARLY ORGANIZATIONAL MEETING                                                                        I




         This stipulation is intended to encourage cooperation among the parties at an early stage in                          \
         the litigation and to assist the parties in efficient case resoiution.

         The parties agree that:                                                                                               !
                                                                                                                               I
         1. The parties commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether there can be agreement on the following:

               a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                  amendment as of right, or if the Court would allow leave to amend, could an amended
                  complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                  agree to work through pleading issues so that a demurrer need only raise issues they cannot
                  resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                  would some other type of motion be preferable? Could a voluntary targeted exchange of
                  documents or information by any party cure an uncertainty in the pleadings?

               b. Initial mutual exchanges of documents at the “core* of the litigation. (For example, in an
                  employment case, the employment records, personnel file and documents relating to the
                  conduct in question could be considered "core." In a personal injury case, an incident or
                  police report, medical records, and repair or maintenance records could be considered
                  "core.");

               c. Exchange of names and contact information of witnesses;

               d. Any Insurance agreement that may be available to satisfy part or all of a Judgment, or to
                  indemnify or reimburse for payments made to satisfy a judgment;

               e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                  or resolution of the case in a manner that preserves objections or privileges by agreement;

               f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                    phases of the case. Also, when and how such issues can be presented to the Court;

               g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
         LACIV 229 (Rev 02/15)
         LASC Approved 04/11              STIPULATION - EARLY ORGANIZATIONAL MEETING
         For Optional Use                                                                                        Page 1 of 2
)
        Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 49 of 68 Page ID #:60




             SHOUT tlTl£:                                                                      CASCNUweSAr




                            discussed in the “Allernalive Dispule Resolution (ADR) Information Package’ served with the
    \                       complaint;

    i              h. Computation of damages, including documents, not privileged or protected from disclosure, on
                      which such computation is based;

                   i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                            www.lacourt.orQ under "C/wr and then under "General Information").

    i       2.              The time for a defending party to respond to a complaint or cross-complaint will be extended
                            to                         for the complaint, and                            for the cross-
                                     (INSERT DATE)                                       (INSERT DATE)
                            complaint, which is comprised of the 30 days to respond under Government Code § 68616(b).
                            and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                            been found by the Civil Supervising Judge due to the case management benefits provided by
                            this Stipulation. A copy of the General Order can be found at w^Jacdufi.om under ‘Civir,
                            click on “General Information", then click on "Voluntary Efficient Litigation Stipulations".

            3.              The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                            and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                            results of their meet and confer and advising the Court of any way it may assist the parties’
                            efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                            the Case Management Conference statement, and file the documents when the CMC
                            statement is due.

            4.              References to “days" mean calendar days, unless otherwise noted. If the date for performing
                            any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                            for performing that act shall be extended to the next Court day

            The following parties stipulate;

            □ate;
                                                                                                                                   V
                                                                              >
                                                                                                                                   :•
                               (TYPE OR PRINT NAME)                                     ‘ (ATTORNEY EGR PLAINTIFF)-
            Oate;
                                                                              >
                               (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
            Date:
                                                                              >
                               (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
            Date:
                                                                              >
                               (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
            Date:
                                                                              >
                               (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
            Date:
                                                                              >
                               (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                          )
            Date;
                                                                              >
                               (TYPE OR PRINT NAME)                                 (ATTORNEY FOR^


            LACtV 229 (Rev 02/15)
            LASC Approved 04/11           STIPULATION - EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 50 of 68 Page ID #:61




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           TELEPHONE NO.:                                NO. (Oplion^)^
  E-MAIL ADDRESS (Optional):
     ATTORNEY FOR (Nam«):

  SUPERIOR COURT OF CALIFORNIA. COUNTY. OF LOS ANGELES
 COURTHOUSE ADDRESS;


 PLAINTIFF;


 DEFENDANT;


                                                                                        CASE NUMBER;

                     STIPULATION - DISCOVERY RESOLUTION

       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

        The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

        2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
           and determine whether It can be resolved informally. Nothing set forth herein will preclude a
           party from making a record at the conclusion of an Informal Discovery Conference, either
           orally or in writing.

        3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
           presented, a party may request an Informal Discovery Conference pursuant to the following
           procedures:

                   a. The party requesting the Informal Discovery Conference will:
                                                                                                                                      ;
                       I.     File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      ii.     Include a brief summary of the dispute and specify the relief requested; and

                     III.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                   b. Any Answer to a Request for Informal Discovery Conference must;

                       I.     Also be filed on the approved form (copy attached);

                      ii.     Include a brief summary of why the requested relief should be denied;
        LACIV 036 (new)
        LASC Approved 04/11                    STIPULATION - DISCOVERY RESOLUTION
        For Optional Use                                                                                                Page 1 of 3
        Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 51 of 68 Page ID #:62


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            SnMT nXLE                                                                    CASE NUWB£A:




                         iii.   Be filed within two (2) court days of receipt of the Request; and

                         IV.    Be served on the opposing party pursuant to any authorized or agreed upon
                                method of service that ensures that the opposing party receives the Answer no
                                later than the next court day following the filing.

                 c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                        be accepted.

                 d. If the Court has not granted or denied the Request for Informal Discovery Conference
                    within ten (10) days following the filing of the Request, then it shall be deemed to have
                    been denied. If the Court acts on the Request, the parties will be notified whether the
                    Request for Informal Discovery Conference has been granted or denied and, if granted,
                    the date and time of the Informal Discovery Conference, which must be within twenty (20)
                    days of the filing of the Request for Informal Discovery Conference.

                 e. If the conference is not held within twenty (20) days of the filing of the Request for
                        Informal Discovery Conference, unless extended by agreement of the parties and the
                        Court, then the Request for the Informal Discovery Conference shall be deemed to have
                        been denied at that time.

            4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
               without the Court having acted or (c) the Informal Discovery Conference Is concluded without
               resolving the dispute, then a party may file a discovery motion to address unresolved issues.

I           5. The parties hereby further agree that the time for making a motion to compel or other
i              discovery motion is tolled from the date of filing of the Request for Informal Discovery
               Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
               filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
;              by Order of the Court.                                                                                  >;
                                                                                                                       !•
                 It is the understanding and intent of the parties that this stipulatidn shall, for each discovery
                 dispute to which it applies, constitute a writing memorializing a “specific later date to which
                 the propounding (or demanding or requesting] party and the responding party have agreed in
                 writing." within the meaning of Code Civil Procedure sections 2030.300(c). 2031.320(c), and
                 2033.290(c).

            6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
               an order shortening time for a motion to be heard concerning discovery.

            7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
               terminate the stipulation.

            8. References to “days" mean calendar days, unless otherwise noted. If the.date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day.



            LACIV 036 (new)
            LASC Approved 04/11            STIPULATION r DISCOVERY RESOLUTION
            For Optional Use                                                                             Page 2 or 3
)       /]   Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 52 of 68 Page ID #:63




                                                                                   CAS£ NUVBEA:




                 The following parties stipulate:

                 Date:
                                                                    >
                                 (TYPE OH PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)—                   (ATTORNEY FOR                           J
                 Date:
                                                                    >
                                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR



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                 For OptionsI Use                                                                           Page 3 of 3
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    Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 53 of 68 Page ID #:64




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               TELEPHONE NO.:          •                       FAX NO. (Optional);
      E-MAIL ADDRESS (OpUonol);
         ATTORNEY FOR (Name):
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      COURTHOUSE ADDRESS;


      PL/UNTIFF:


      DEFENDANT;


                                                                                                          CASE NUMBER;
                            INFORMAL DISCOVERY CONFERENCE
                      (pursuant to the Discovery Resolution Stipulation of the parties)
            1. This document relates to:-
                   Q      Request for Informal Discovery Conference
                   O      Answer to Request for Informal Discovery Conference
            2. Deadline for Court to decide on Request: ^____________       (insert date                   10 calendar days following filing of
                    the Request).
           3. Deadline for Court to hold Informal Discovery Conference:                                               (Insert dale 20 calendar
                    days following filing of the Request).
           4. For a Request for Informal Discovery Conference, briefly describe the nature of the
              discovery dispute, Including the facts and legal arguments at issue. For an Answer to
              Request for Informal Discovery Conference, briefly describe why the Court should deny                                                •i
              the requested discovery, Including the facte and legal arguments at issue.
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                                                    INFORMAL DISCOVERY CONFERENCE
           For Optional Use                   (pursuant to the Discovery Resolution Stipulation of the parlies)
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    Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 54 of 68 Page ID #:65




     KUIE AMO AOOREM 0« ATfe>q.^OR'pAnff MTHiM AHORT^'                     STATE BAA HUUKA            A ■»tn»4 M   n » Su*"#




                TELEPHONE NO.:                           FAX   no:   (Optional):
      E-htAlL ADDRESS (Optional):
         ATTORNEY FOR (Namo):

      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     COURTHOUSE ADDRESS:

      PLAINTIFF:

      DEFENDANT:

                                                                                             CASE NUMBER:

                    STIPULATION AND ORDER - MOTIONS IN LIMINE


           This stipulation is intended to provide fast and informal resolution of evidentiary
           issues through diligent efforts to define and discuss such issues and limit paperwork.


           The parties agree that:

            1. At least       days before the final status conference, each party will provide all other
               parties with a list containing a one paragraph explanation of each proposed motion in
               limine. Each one paragraph explanation must identify the substance of a single proposed
               motion in limine and the grounds for the proposed motion.

           2. The parties thereafter will meet and confer, either in person or via teleconference or
              videoconference, concerning all proposed motions in limine. In that meet and confer, the
              parties will determine:

                   a. Whether the parties can stipulate to any of the proposed motions. If the parties so '
                      stipulate, they may file a stipulation and proposed order with the Court.

                   b. Whether any of the proposed motions can be briefed and submitted by means of a                               i
                      short joint statement of issues. For each motion which can be addressed by a short
                      joint statement of issues, a short joint statement of issues must be filed with the Court '                  !
                       10 days prior to the final status conference. Each side's portion of the short joint
                      statement of Issues may not exceed three pages. The parties will meet and confer to
                      agree on a date and manner for exchanging the parties' respective portions of the
                      short joint statement of issues and the process for filing the short joint statement of
                      issues.

           3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
              a short joint statement of Issues will be briefed and filed in accordance with the California
              Rules of Court and the Los Angeles Superior Court Rules.



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           For Optional Use                                                                                          Page 1 of 2
    <1         Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 55 of 68 Page ID #:66

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                    The following parties stipuiate:                                                              i



                    Dale:
                                                                    >
                                  (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
                    Date:
                                                                    >
                                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
                    Date:
                                                                    >
                                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
                    Date:
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                                  (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
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                    Date:
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                                  (TYPE OR PRINT NAME)                  (ATTORNEY FOR
                    Date:
                                                                    >
                                  (TYPE OR PRINT NAME)                  (ATTORNEY FOR:                    J

!
I                   THE COURT SO ORDERS.,                                                                         f


                      Date: .
                                                                                 JUDICIAL OFFICER
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    J       Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 56 of 68 Page ID #:67




                                       Superior Court of California, County of Los Angeles




             Whatts ADR?
             ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
             mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Online
             Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.


             AdvaritaEes of ADR
                  •    Saves Time: ADR is faster than going to trial.
t       :         •    Saves Money: Parties can save on court costs, attorney's fees and witness fees.
        ;
I                 •;   Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
I                 •    Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.:


             Disadvantages of ADR
                 •     Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
                 ♦     No Public Trial: ADR does not provide a public trial or a decision by a judge or Jury.


             Main Types of.ADR:

                  1.   Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
                       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

                  2.   Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
                       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
                       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                                   Mediation may be appropriate when the parties
                                      • want to work out a solution but need help from a neutral person.
                                     • have communication problems or strong emotions that interfere with resolution.
                                   Mediation may not be appropriate when the parties
                                      • want a public trial and want a judge or Jury to decide the outcome.
                                      •   lack equal bargaining power or have a history of physical/emotional abuse.                        i

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            California Rules of Court, rule 3.221
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                                                     free (for selected cases) mediation in person^or witK O'DR (by ^^ione or onllrt'^).
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                 ^ .y Vv               ♦   JAMS. Inc.: Case Manager (213) 253-9776 mdawsontatjamsadf/coA ■ ^ * I . ^ v\*v,'’                   ;
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             ^          ; ^These organizations cannot accept every case and they may decline cases at.thcir disae^rii
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                      . .r,i ^ Visit www.iacourt.Offt/ADR.Res.li5t for important inforrnatibn and MQs before contacting them.
                  ■■■ / -■             NOTE: This'service h not available for family law, probate or'small clairns.              '         '
                                                                                                                                                          ?

                           b:' -Los Angeles County Dispute Resolution Programs
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                                https://wdacs.tacountv.gQV/Drograms/drp/                                                  .   ■ t
                                    '• Free, day- of- trial mediations at the courthouse for small claims, unlawful detainers (evictions)
                                          and, at the Stanley Mosk Courthouse, limited civil. No^appointment needed? f
                            , . .         Free or low-cost mediations before the day of trial for these and other case^pes.j
                                    ’• ,• For ODR by phoneorcomputer for small claims or unlawful detainer;i(eViajbn) ca^ before the
                                                 day of trial, visit                                           ,  ’     •i’
                                                 http://www larourt orR/diviSion/smallciaims/pdf/OnlineDlscuteResolutionFfvef-EngSpan.pdf

                           c.          Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




                 3.    Arbitration: Arbitration Is less formal than trial, but like trial, the parties present evidence and arguments to the
                       person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
                       trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
                       information about arbitration, visit http://www.coufts.ca.gov/proerams»adr.htm

               4.      Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
                       date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
                       assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
                       For information about the Court's MSC programs for civil cases, visit: www.facourt.org/divlsion/ctvil/settlement




         Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settlement
         For general Information and videos about ADR, visit hnp://www.courts.ca.gov/prQgrams-adr.htm




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                                         SUPERIOR COURl’ OF THE STATE OF CALIFORNIA                                  \
                   8

                   9^                          FOR THE COUNTY OF LOS ANGELES
                  10:
                  i 1, IN RE LAOSD ASBESTOS LITIGATION            JCCP CASE NO. 4674

                  12;                                             ORDER AUTHORIZING ELECTRONIC
                       t                                          SERVICE
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r.>               15;                                             Dept: 324
                                                                  Judge: Hon. Emilie H. Elias
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                           ORDER AUTHORIZING ELECTRONIC SERVICE                                    Page 1 ofir
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 59 of 68 Page ID #:70




      1   1.     AI^PUCATION OF ORDER

      2          Judicial Council Coordinated Proceedings Case No. 4674 (hereinafter referred to as

      3 “ASBESTOS JJTIGATION” or "JCCP 4674”) is deemed complex litigation within the meaning of
      4 the California Standards of Judicial Administration for Complex Litigation Section 19 and California
      5 Rules of Court, Rule 3.400> el. seq. As such, ASBESTOS LITIGATION requires specialized
      6 management to avoid placing unnecessary burdens on the Court and the litigants and to keep costs
      7 reasonable.
      8         •At the Omnibus Status Conference held on October 6, 2011 the Court advised all parties

      9 present that it intended to order e-service. On the same date, the parties were invited to join a
     10 committee to select the provider and to discuss the terms of the e-service process. The Court met with
     11   said committee, which consisted of representatives from both plaintiff and defense sides, on

     12 October 18. 2011 to hear presentations from potential providers and to discuss the nature of this
     13 Order. The Court further provided the draft of this Order to said committee for their input. Said
     14 committee has selected the provider and has given their input into this Order.
     15          The Court finds that entry of an order requiring mandatory electronic service of all pleadings
     16 jand documents subsequent to the filing of the Complaint and Summons in ASBESTOS
     17 LITIGATION actions will benefit the Court, counsel and litigants, and will further the orderly
     18 conduct and management of ASBESTOS LITIGATION in this jurisdiction. The Court further finds
     19 that electronic service will not cause undue hardship or significant prejudice to.any party. Therefore,
     20 pursuant to California Rules of Court, Rule 2.253, the Court hereby orders service subsequent to the
     21   filing and service of the Complaint and Summons to be accomplished electronically as set forth in
     22 this Order by all parties in ASBESTOS LITIGATION. Califomia Rules of Court, Rules 2.250
     23 through 2.261 shall govern the electronic service of documents in the ASBESTOS LITIGATION.
     24 Electronic service of ASBESTOS LITIGATION documents requires utilization of an electronic

     25 service provider. Any such provider must be approved by the Court. The effective dale for
     26 electronic service in ASBESTOS LITIGATION shall be November 14, 2011.
     27
     28
          ORDER AUTHORIZING ELECTRONIC SERVICE                                                       Page 2 of 11
    Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 60 of 68 Page ID #:71




            1   2.      DEFINITIONS
            2           A.     E-Service VENDOR or VENDOR or Approved VENDOR - A private fjrm or

            3                  other business entity approved and selected by the Court to provide electronic

            4                  service. As of the effective date of this Order, the Court has approved LexisNexis

            5                  {http.7/www.lexisnexis.com/rtleandser\'e\

           -6           B.     E-Service - Electronic transmission of an original document to all otlier designated

            7                  recipients via the VENDOR’S system. Upon the completion of any transmission to

       -    8                  the vendor’s system, a transaction receipt is issued to the sender acknowledging

            9                  receipt by the VENDOR system. Once the VENDOR has served all recipients, proof
           10                  of electronic service shall be available to the sender from VENDOR.
           II           C.     ASBESTOS LITIGATION — All cases that have been, or become, coordinated into

           12                  JCCP 4674.

           13          D.      £-Document - An electronic version of a word processing document which
           14                  generally is composed of text.
           15          E.      E-lmage - An electronic version of a document that has been scanned or converted
           16                  to a graphical or image formal.
i          17          F.      USER(S) -- Any party or non-party to an action who files ASBESTOS LITIGATION
           18                  documents and utilizes the services of the approved VENDOR.
           19          G.      CASE - The individual case filed by a plaintiff which is now, or later becomes, a
           20                  part ofthe ASBESTOS LITIGATION.
           21   3.     OPERATION OF ELECTRONIC SERVICE PROCEDURE
           22          A.      All parties to the ASBESTOS LITIGATION pending in this Court, other than self-
           23   represented parties, shall utilize the services of an approved VENDOR on and after the effective date
           24 of tliis Order. USERS shall enter into the following arrangements with VENDOR:
           25                  1.      A standard service agreement'during the registration process with the
           26                          approved VENDOR that will govern any and all transactions completed
           27                          within and outside the scope of this Order, in addition to additional features

           28
                ORDER AUTHORIZING ELECTRONIC SERVICE                                                       Page 3 of 11
          Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 61 of 68 Page ID #:72




                 1                       thai USERS may but are not required to use in connection with the electronic

                2                        serving ol documents through the VENDOR;

                3                 2.     An addendum agreement referenced herein shall apply solely and exclusively

                4                        to the parties to the ASBESTOS LITIGATION and their legal

                5                        representatives, and shall not be altered by VENDOR without Court

                6                        approval.

                7          B.     TTie fees charged by the VENDOR for use of the electronic service system shall be
     .*          8                established by the VENDOR pursuant to the agreed upon terms. Other than that

                9                 specifically contemplated by the terms of the agreement, VENDOR shall maintain

               10                 the fee structure in effect for E-Scrvice at the commencement of this O.rder. No fees

               11                 associated with electronic service may be increased by the VENDOR without Court
               12                 approval after having given at least 60 days prior notice to all USERS.

               13          C.     The Court may solicit bids from other potential VENDORS and submit to the parties
}.
               14                 in ASBESTOS LITIGATION any recommendations for a change in the designation
               15                 of the VENDOR or the terms of the Service Agreement.             Should a party in        •5
               16                 ASBESTOS LITIGATION seek to alter the current VENDOR, it must seek leave of

              > 17                Court to do so.

               18 4.       ASSIGNMENT BY THE VENDOR OF WEBSITE AND USERNAME AND
               19         ■PASSWORD.

               20          VENDOR shall establish and maintain an internet website for the ASBESTOS LITIGATION.
               21 VENDOR will post all documents served by the parties to the website as provided in this Order and
               22 shall serve each document on the parties included on the service list provided to VENDOR in
               23 accordance with the procedures herein.
               24         A general page will be created for JCCP 4674. All orders that apply to all CASES in

               25 ASBESTOS LITIGATION or notices from the Court shall be designated by the Court to be posted
               26 and served on all parlies under JCCP 4674. All other documents shall be posted and served on all
               27 parties in the CASE to which the document pertains under the individual CASE number.
               28
                     ORDER AUTHORIZING ELECTRONIC SERVICE                                                    Page 4 of 1)
Case 2:19-cv-09064-SVW-E Document 1-1 Filed 10/22/19 Page 62 of 68 Page ID #:73




      I          VENDOR shall assign to the party’s designated representative a confidential USER name

      2 and password which may be used to electronically serve and receive pleadings, orders, and other
      3   documents that are filed and/or served in ASBESTOS Ll'i'IGATION. No attorney or parly
      4   representative shall knowingly authorize or permit his/her USER name or password to be utilized by

      5 anyone other than the authorized attorneys or employees of the attorney’s law firm.
      6    5.    ELECTRONIC SERVICE OF PLEADINGS AND OTHER DOCUMENTS
      7          All documents filed with the Court shall be electronically served on all parties. Except as

      8 expressly provided herein, all pleadings, motions, memoranda of law, declarations, orders, discovery,
      9 ex parte notices, deposition notices and objections, or other documents served in ASBESTOS
     10 litigation by USERS shall be electronically served.
     II          Notice(s) of ex partes^ whether by letter or pleading, shall be uploaded as a separate

     12 transaction. All notices of depositions and objections to depositions must be uploaded as a separate
     13   transaction. Except as set forth above, documents pertaining to the same CASE may be served as one
     14 transaction if they pertain to the same category of documents and the same party, i.e. notice of motion,
     15 points and authorities, declarations, etc. for one motion may be served together as a single
     16 transaction.
     17          USERS may electronically serve other documents notspecifically contemplated above. Other
     18 correspondence between counsel need not be served electronically.                                           j

     19          In the event a document is served by any method authorized under the Code of Civil Procedure       r
     20 other than electronic service, a copy of the documenl(s) also shall be electronically served in             .i

     21   compliance with the terms of this Order by 5:00 p.m. on (he next business day.
     22          Nothing is intended by this Order to modify the obligations of service as set forth in the
     23 California Code of Civil Procedure and/or other applicable rules.
     24          A.      Complaint and First Appearances

     25                          Plaintiff shall file in paper form the complaint and summons and proof of
     26                  service of same; these documents shall also be posted electronically. Electronic
                                                                                                                    i
     27                  service of a summons and complaint does not constitute service of process for any
     28
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               1                 purpose and does not relieve the serving party from compliance with the applicable

               2                 provisions of the California Code of Civil Procedure.

               3                         Each defendant shall serve its first pleading in each CASE with the VENDOR

               4                 in such manner as the VENDOR shall establish to enter its appearance and serve its .

               5                 first pleading electronically in the newly-filed CASEs.

               6         B.      Service Lists

               7                         Within five (5) days of this Order, every counsel for plaintiffs in ASBESTOS

               8                 LITIGATION.shall submit to the VENDOR a complete and current service list of

               9                 counsel of record for each matter in which they represent a plaintiff(s) in ASBESTOS

              10                 LITIGATION. Each attorney of record for a party in the ASBESTOS LITIGATION

              II                 shall register for electronic service by completing the appropriate VENDOR

              Il­                application within ten (10) days of this Order.

              ls                         Within ten (10) days of the effective transfer of any CASE from a referring

              14                 Court into the.ASBESTOS LITIGATION, counsel for plaintiff shall submit to the ’

              15-                VENDOR a complete and current service list of all parties and their attorneys of                       5

                                                                                                                                   L’
              16                 record. Each attorney of record shall register for electronic service by completing the
                                                                                                                              i.
              17                 appropriate VENDOR application within ten (10) days of service of notice oftransfer                    i

              18                 of a CASE from a referring Court into the ASBESTOS LITIGATION.

              19                         Within fifteen (15) days of the entry of appearance of a new party in the
                                                                                                                                        •!
              20.             ' V ASBESTOS LITIGATION, each attorney of record for that party shall register for.
              21                 electronic service by completing the appropriate VENDOR application
              22                         A party seeking to be removed from a service list on any CASE shall file with

              23                 the Court and serve on all parties a “Request To Be Removed From The Service List.”
              24                 Any party objecting tp the removal of the requesting party must file with the Court and

              25               • serve on all parties an objection within five (5) court days. If no objection is received,

              26                 the requesting party shall be removed from the service list by the party initiating the

              27                                                                                                                        i


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              1                  action against the requesting party. Parties may only be removed from a service list by

              2                  the party initiating the action or by order of the Court.

              3                          Service list changes will remain the responsibility of the individual parties

              4                  through their counsel, if any. The VENDOR shall process the changes requested by

              5                  parties, but the VENDOR will not initiate them.

              6 6.       EFFECT OF USE OF E-SERVlCE ANP TIME FOR SERVICE

             .7          No document transmitted electronically shall be considered as served unless it is accepted by

              8 the VENDOR.- Electronic service shall be complete at the lime of transmission. However,-any
              9   documents transmitted after 5:00 P.M., Pacific Time, will be deemed to have been served on the
             10   following date.

             1)          Any period of notice or any right or duty to do any act or make any response within any period

             12 or on a date certain after the service of the document, which time period or date is prescribed by
             13 statute or California Rules of Court, shall be extended after service by electronic transmission by two
             14 court days, but Jhe extension shall not extend the time for filing notice of intention to move for new
             15   trial, notice of intention to move to vacate judgment pursuant to Code of Civil Procedure § 663a, or

             16 notice of appeal (California Rules of Court, Rule 2.251 (f)(2)).
             17          In the event that a document is rejected for filing by the Court after VENDOR has posted it on

             18 the website, the party that caused the document to be posted shall promptly notify VENDOR in
             19 .writing that the document was rejected by the Court for filing. VENDOR shall cause a permanent
             20 notation to be placed on the website in conjunction with that document memorializing the fact of            i

             21   rejection. All parlies reserve their rights to object to untimely or otherwise improperly filed and/or
             22   served documents.

             23   7.   - FORMAT OF ELECTRONICALLY SERVED DOCUMENTS
                                                                                                                            S
             24          A.      Pleadings. I)iscovcrv, and General Documents

            •25                          All electrorucally served documents, to the extent practicable, shall be           !

             26                  formatted in accordance with the applicable rules governing formatting of paper

             27                  pleadings, and in such other or further format as the Court may require. The date and

             28
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               1              time of the heeiring or trial in connection with which the document is submitted shall

               2              be designated on the cover page of each document. The caption and signature page of

               3              any document served shall contain the name of the attorney and, if applicable, the

               4              name of the law firm representing the party and the name of the party on whose behalf

               5              the document is served.                                                                     }


               6                      All documents relating to a single motion, pleading or paper shall be

               7              electronically served together in a single service transaction.         All documents

               8              electronically served shall be identified by; (a) the name of the serving law firm; (b)

               9              the caplion(s) of the CASE(s), including specific. CASE number; (c) a brief title of the

              10              document, including the name of the party to whom it is directed; and (d) the identity

              11              of the party on whose behalf the document is being served.                                  1


              12                      The document title entered on the VENDOR system shall be substantially the

              13              same as the caption on the document. This title is used to allow USERS to quickly

              14              search the VENDOR system and locate specific documents. The title shall be used
              15              for administrative and reference purposes only, but is not determinative forany other       ‘


              16              purpose.
                                     Documents that are required to be redacted per California Rules of Court,            >;
              17                                                                                                          \

              18              Rule 1.20 shall be served in their unredacted form, but.shall be filed with the Court

              19              redacted in accordance with the California Rules of Court. Documents lodged
                                                                                                                          I
              20              provisionally under seal, pursuant to California Rules of Court, Rules 2.550, etseq.,
              21              shall be electronically served in a locked format and shall be so served on the parties     j



              22              in said CASE. The redacted versions shall also be served, in unlocked version, on all
              23              parties in said CASE.

              24        B.    Non-Electrooic Exhibits or Other Items

              25                     Exhibits to declarations or other documents that are nontext articles, real

              26              objects, or other documents not readily susceptible to electronic service may be

              27                                                                                                          (
              28
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                         served in non-electronic form. A notice of such alternative service shall be served

      2                  electronically.

      3           C.     Proof of Service

      4                          Proof of eleclroiuc service shall conform to the applicable provisions of the

      5                  Code of Civil Procedure and the California Rules of Court. The VENDOR’S,

      6                  transaction receipt may operate as the proof of service so long as it complies

      7                  substantially with such provisions. A proof of service page may be attached to the

      8                  last page of any electronically served document. Neither a separate caption page nor

      9                  a separate filing of the proof of service is required so long as the proof of service
     10                  page contains a caption referencing the CASE name and action number, is attached
     11                  as the last page of the electronically served document to which it refers, and
     12                  references the VENDOR’S transaction receipt.
     13   8.     SIGNATURES ON E-SERVED DOCUMENTS
     14          Every pleading, document, and instrument electronically served shall be deemed to have
                                                                                                                     i. I

     15   been signed by any judge, licensed attorney, court official or person authorized to execute proofs of             !
                                                                                                                            I
     16 service if it bears the graphic signature or the typographical signature of such person, e.g. ‘7s/ Adam “
                                                                                                                            :
     17 Attorney,” along with the typed name, address, telephone number, and State Bar of California ■
                                                                                                                            i
     18 number of a signing attorney. Such graphic or typographical signatures shall be treated as personal
     19 signatures for all purposes under the California Code of Civil Procedure.
     20          Other than the attorney of record for a party in a CASE, all other filed and/or served
     21   documents requiring a signature under penally of perjury must be imaged to reflect the handwritten
     22 signature of the declarant to accomplish valid service. Upon request, the filing and/or servingparty ,
     23   shall provide the original of such typographically signed or imaged documents.
     24          USERS shall retain in their files or in the file of the Court an original dated hard copy with             <

     25   hand written signature as required of all electronically served documents. The hard copies shall be
     26 made available for inspection upon reasonable notice.
     27
     28
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          I   9.     NEW parties
          2          A copy of ihis Order or reference to the court file where such Order is located shall be

          3 provided to all parties at the time of initial service of the Complaint or at any other such first time a
          4 new party is brought into an existing action in ASBESTOS LITIGATION.
          5 10.      USER AND VENDOR TECHNICAL PROBLEMS

          6          In the event that a USER is temporarily unable to electronically serve due to technical
          7 problems, the USER should promptly seek relief from the Court. The Court shall establish policies
          S and procedures for USERS to follow when requesting an extension of time due to technical
          9 problems.
         10          If electronic service does not occur because; (1) of an error in the transmission of the

         11 document to the VENDOR or served party which was unknown to the sending party, (2) of a failure
         12 to process the electronic document when received by the VENDOR, (3) a party was erroneously
         13 excluded from the service list, or (4) of other technical problems experienced by tlie VENDOR, the
         14 party or parties affected may be entitled to an extension for any response or the period within which
         15 any right, duty, or other act must be performed, provided the USER demonstrates that s/he attempted              j

         16 to otherwise timely complete service on a particular day and time.
         17          VENDOR shall provide, in the least, telephonic technical service assistance to the Court and
         18 parties in ASBESTOS LITIGATION 24-hours per day, 365-days per year, and shall work diligently
         19 to avoid and promptly resolve any technical difficulties.                                                        I
         20 11.      PARTIES NOT REPRESENTED BY COUNSEL AND NON-PARTIES
         21          Parties not represented by counsel and non-panies are not required to electronically serve
         22 documents and may serve documents in accordance with the California Code of Civil Procedure and
         23 other applicable rules.
         24 12.      ELECTRONIC SERVICE OF ORDERS AND OTHER DOCUMENTS BY
         25          THE COURT

         26          The Court may electronically serve orders and other documents electronically on parties in

         27 llie ASBESTOS LITIGATION.
         28
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            1    13.   OBJECTION TO E-SERVICE ORDER AND NOTICE OF ORDER

            2          A.   All parties currently in the ASBESTOS LITIGATION shall have ten (10) days from

            3                service of this Order to file objection with the Court. Any party appearing after

       .    4               November 14,2011, shall have ten (10) days from their initial appearance to lodge any

            5                objections to this Order and to seek exemption. A copy of this Order or reference
            6                thereto shall be served upon any newly appearing party with the initiating pleadings.

            7                Exemptions may be granted in the discretion of the Court if it appears that a parly         I


            8               would suffer undue hardship or significant prejudice.

            9          B.    Counsel for Plaintiff is further ordered to serve a copy of this Order on parties in each i

           10'              Case within five (5) days of the entry of this Order.

           11
           12 IT IS SO ORDERED.
           13
           14 Dated: October «-?5' , 2011 •                                ■■   -




                                                            Emilie H. Elias
           15                                               Judge of the Los Angeles Superior Court
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